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ORIGINAL                                                                                 LUTHi :; '-
                                                                                          By:
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                          IN THE UNITED STATES DISTRICT COURT                                                    d, 
                             NORTHERN DISTRICT OF GEORGIA
                                         ROME DIVISION


IN RE : TRI-STATE                                  )
CREMATORY LITIGATION                               )        MDL DOCKET NO .             1467




                          MOTION FOR SUMMARY JUDGMENT OF
                   DEFENDANT WALLIS-WILBANKS FUNERAL HOME, LLC

          COMES    NOW Defendant         Wallis-Wilbanks                 Funeral        Home,     LLC       and,

pursuant to Fed .R .Civ .P .            56,    move this Court for Summary Judgment .

Defendant Wallis-Wilbanks                Funeral           Home,     LLC moves           this Court          for

summary         judgment      against         the          Plaintiffs         identified               in    the

accompanying Memorandum of Law,                        as to the claims described in that

Memorandum,          as    there   are        no       genuine      issues         of    material           fact

precluding         the entry of         summary judgment,                  and Wallis-Wilbanks                   is

entitled        to   judgment      as    a    matter        of     law .      In    support        of       this

Motion,      Wallis-Wilbanks            relies         upon   the     facts and arguments                    set

forth      in     the     accompanying        Memorandum            of     Law     and     Statement          of

Material        Facts as to which There Exists No Genuine                                 Issue and all

pleadings and matters of record properly before this Court .

                           Wallis-Wilbanks Funeral Home,                      LLC respectfully

requests this Court grant its Motion for Summary Judgment .




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          Respectfully submitted this       to       day of   October,    2003 .

                                      HAWKINS & PARNELL,         LLP




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               ~' .,I    `IN THE UNITED STATES DISTRICT COURT OCT -'                       -''
               ~X            NORTHERN DISTRICT OF GEORGIA                                        1.,- ;n
                                     ROME DIVISION
          ~DIJ                                              ~'y'~                                 Gierk


IN RE : TRI-STATE                              )
CREMATORY LITIGATION                           )       MDL DOCKET NO .   1467




                 Z OF LAW IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT OF
                 DEFENDANT WALL25-WILBANKS FUNERAL HOME, LLC

                                    FACTUAL BACKGROUND


          By now the Court is very aware of the general facts underlying

this lawsuit,           as it arises from the discovery of human remains on

the grounds of the Tri-State Crematory on and around February 15,

2002 .

1.        Wallis-Wilbanks Funeral Home

           In 1973,     SCI Georgia bought what was then called Wallis & Sons

Funeral       Home    from its original owner J .D .           Wallis,       Sr .      (November

13,       2002 Deposition of Richard Wilbanks p .               9) .   SCI    Georgia owned

the       funeral home until        it was         sold to Carriage    Funeral        Services,

Inc .' on March 20,           1992 .2   (R .   Wilbanks Depo .    pp .   10-11) .




1 At the time it purchased Wallis & Sons from SCI Georgia, the
Carriage entity was known as Carriage Funeral Services, Inc . In
December 1993, that entity changed its name to Carriage Funeral
Holdings, Inc ., the name under which it now operates .

   Carriage Funeral Holdings, Inc . is not a party to this lawsuit .
Even if Carriage Funeral Holdings, Inc ., the owner of the funeral

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           Richard Wilbanks began working at Wallis & Sons Funeral Home

(the precursor to Wallis-Wilbanks)                          in 1962,        when he      returned to

LaFayette,              Georgia after serving in the military .                   (R . Wilbanks Aff .

   19) .        In 1963, Richard Wilbanks was                    first licensed,         in Georgia,

as a funeral director .                  (R . Wilbanks Depo . p . 45 ; R . Wilbanks Aff .

   20) .        With the exception of a five-year period between 1982 and

1987       (where he worked as a funeral director at Lane Funeral Home,

LaFayette Chapel),                Richard Wilbanks has worked for,                    managed or had

an ownership interest                   in the funeral home since 1962 .                (R .   Wilbanks

Depo .      pp .    11-14) .

           The first contact Richard Wilbanks had with any member of the

Marsh family was in or around the end of 1973,                               when he began to use

the grave opening and closing services of Ray Marsh .                                   (R .   Wilbanks

Aff .      $    21) .      At    some    point     in    1982   or   1983    Ray Marsh         informed

Richard          Wilbanks        that     he    intended        to   open    a    crematory .         (R .

Wilbanks Aff .             $ 22) .      In 1983,    shortly after the crematory opened,

Mr .      Wilbanks was invited by Ray Marsh to witness a cremation,                               which

he did .         (R .    Wilbanks Aff .        1 23) .    For the time period relevant to

the       lawsuit,         the    funeral       home,     while      owned       by   either    SCI    or




home at issue from July 1, 1993 until March 2001, were a party to
this lawsuit,   it would be entitled to summary judgment, as is
Wallis-Wilbanke Funeral Home, LLC, under the theories set forth
herein . Thus, should Carriage Funeral Holdings, Inc . be added to
this suit as a party Defendant, it is entitled to summary judgment .

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Carriage,         utilized the services of Tri-State between 1983 and 2001

and the funeral home while owned by Wallis-Wilbanks Funeral Home,

LLC       used    the    services          of    Tri-State             between               March    21,    2001      and

January 30,          2002 .         (R .   Wilbanks Aff .              9     24) .

2.        Plaintiff Kerry Oliver

          Plaintiff Kerry Oliver is                     the son of Thomas Milbern Oliver,

whose       funeral       arrangements               were        handled            by       Wallis-Wilbanks             in

1994 .           (October      30,      2003     Deposition                 of      Kerry       Oliver       p.      14) .

Thomas Oliver died on August                          12,       1994 .           (K .    Oliver Depo .         p .    27) .

Plaintiff           Oliver          did        not     "play            any             role        whatsoever"          in

communicating with Wallis-Wilbanks regarding the arrangements of

any aspect          of   his    father's cremation .                             (K .    Oliver Depo .         p.     14) .

The       arrangements were                handled      by his              mother,            who    is    alive,      and

brother,         Richard .      (K .       Oliver Depo .             pp .    14-15) .

          After his       father's             funeral          in    1994,         the       ashes    were buried .

(K .      Oliver Depo .        p.      18) .     After          the     news            of    the    discoveries         at

Tri-State,          those remains were exhumed and allegedly taken to the

GBI       for testing .         (K .       Oliver Depo .             pp .    34,        49-50) .       Some unknown

person allegedly employed by the GHI                                        or    some other           governmental

entity supposedly reported                           to Oliver the generic                           finding of yet

another unknown person                      that      the       remains           appeared           to be    composed

of     "human teeth and bone,"                    as opposed to concrete dust                                and rock .



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(K . Oliver Depo . p 51) .'               Plaintiff Oliver's father's body is not

one of those found and identified by the GBI on the grounds of the

Tri-State Crematory .              (K .   Oliver Depo .   p .     20) .

3 .       Plaintiffs Jackie DeGraw and Virginia Bradley

          As their claims relate to Wallis Wilbanks,4                       these Plaintiffs

are the daughters of Ann Hawkins .                  (September 29,            2003 Deposition

of Virginia Bradley, p . 5 ; September 29, 2003 Deposition of Jackie

DeGraw, p . 7) . The funeral and cremation arrangements for the body

of Ann Hawkins were handled by Wallis-Wilbanks,                            on or about March

31,       1997,    the day after the death of              Ms .     Hawkins .     (V .   Bradley

Depo .,     pp .   17,   20-21 ;   J.   DeGraw Depo .,    pp .    17,     22) .




' Oliver and his counsel have attempted to make much of this alleged
statement in light of the fact that Oliver's father allegedly did
not have any teeth at the time of his death .        What must be pointed
out, however, is that Plaintiff Oliver and his counsel have yet to
put forth any admissible evidence as to what actually comprises the
remains in their possession .        All they have put forth is the
hearsay   within  hearsay   statements   of two unknown out of court
declarants as to the generic makeup of cremated remains generally .
  Certainly this information is being put forth for the truth of the
statements ; thus, when the Court acknowledges the out of court
nature   of   the persons    allegedly making the         statements,  any
statements as to the makeup of          the   remains    are  hearsay  and
inadmissible .    Fed . R . Evid . 801(c), 802 . As the Court is well
aware, inadmissible hearsay may not be considered in deciding a
motion for summary judgment .     Macuba v . DeBoer , 193 F .3d 1316, 1322
 (11th Cir . 1999) .

° These Plaintiffs have also asserted claims against W .L . Wilson &
Sons Funeral Home,   as the arrangements for John Hawkins were
handled by that funeral home .


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           Both Ms .    DeGraw and Ms .              Bradley met with Richards Wilbanks

on March 31,           1997,    where they were both signatories to Statement

of Funeral Goods and Services Selected .                                      (See Defendants'                Exhibit

717) .         On that same date,                both Ms .      DeGraw and Ms .                 Bradley

executed an Authorization for Cremation and Disposition,                                                     which

clearly authorized "Marsh"                         crematory to cremate the body of Ms .

Hawkins .          (See Defendants'                Exhibit      718) .

           The purported cremains of Ms . Hawkins were returned to her

family within a few days of the                            "cremation ."                 (J .   DeGraw Depo .,

p.     28) .     Those cremains were then buried at Crest Lawn Cemetery

with the cremains of John Hawkins,                              who had died and been cremated

in September 1994 and whose cremains had been maintained to allow

for a joint          interment .            (J .    DeGraw Depo .,               p .    28) .    The cremains

returned to these Plaintiffs and purported to be those of Ann

Hawkins,         remained buried in Crest Lawn until these Plaintiffs

learned of the discoveries at Tri-State and they were notified of

a DNA match .          (V .   Bradley Depo .,              p.   47) .

           These    Plaintiffs,             as      well     as     their              sister    Tina        Russell,

provided DNA samples                   to     the GBI .           (V .    Bradley Depo .,               p.     28 ;    J.

DeGraw Depo .,          p.    17) .        In July 2002,             the GHI             notified Ms .         DeGraw

that there had been a DNA match and the                                    "body" of Ann Hawkins had

been located on the Tri-State grounds .                                   (V .    Bradley Depo .,             pp .    31,

46 ;      J.   DeGraw Depo .,         p.    30) .     At that            time,         these Plaintiffs,              and

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their brother Herbert Duncan,5 exhumed the cremains purported to be

those of Ann Hawkins .                 (V . Bradley Depo .,                   p .    47 ;) .     These Plaintiffs

attempted       to     return         these     remains          to      the         GBI,      but    were      told     to

"throw them away" as                  the GBI        was    no         longer testing cremains .                        (J .

DeGraw Depo .,         pp .     46-47) .        These Plaintiffs maintained possession

of the cremains .             (J .    DeGraw Depo .,             p .    47) .

           In April 2003,            the GBI released the                       "body"         of Ann Hawkins to

W .L . Wilson & Sons Funeral Home .                        (V . Bradley Depo .,                     p .48) .    At that

time,       these Plaintiffs were allowed to see their mother's                                                 "body ."

 (V .     Bradley Depo .,        p.    48 ;    J.    DeGraw Depo .,                   pp .     40-42) .        All     that

was located and identified by the GBI was three bones,                                                    which were

"re-cremated ."          (V .    Bradley Depo .,             p.        48 ;     J.    DeGraw Depo .,            pp .    40-

42) .        Plaintiff        DeGraw        maintains            custody              and      control         of    those

cremains .      (V .   Bradley Depo .,               p.   48 ;    J.     DeGraw Depo .,                pp .    40-42) .

4 .       Plaintiff Alex Kitchens

           Plaintiff    Alex         Kitchens         retained Wallis-Wilbanks                                to handle

the disposition of his                  father's body, Dr .                         Sterling Burt Kitchens,

who died on February 14,                      2000 .       (November 12,                     2003    Deposition of

Alex Shield Kitchens,                  p.     6) .     Plaintiff Kitchens                        coordinated the

arrangements           for the handling of                   his         father's              final disposition




5 It bears noting that Mr . Duncan has filed his                                                    own   individual
lawsuit in the Superior Court of Walker County .


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directly        with      Richard     Wilbanks .                (A .    Kitchens            Depo .     p.         16) .

Plaintiff       Kitchens executed an                   "Authorization                 for      Cremation             and

Disposition,"             which clearly       identified                "Marsh Crematory"                     as     the

provider        of    cremation       services .               (A .    Kitchens         Depo .       pp .     22-23 ;

Defendants'          Exhibit 222) .         After the discoveries on the Tri-State

property,       Plaintiff Kitchens had the remains of his father exhumed

from      the    LaFayette          Cemetery .                (A .     Kitchens            Depo .     p .     40) .

Plaintiff Kitchens turned the remains over to the GBI                                               for testing,

and was informed              that    the    remains were                    "consistent with human

remains ."       (A .     Kitchens Depo .       p .     40) .

5.        Plaintiff Llewellyn Wood, Jr .

          Plaintiff Llewellyn Wood,                Jr .        is the surviving spouse of Ann

Bolling Jones Jones,             who died on August                     27,     2000 .        (June         16,     2003

Deposition           of   Llewellyn     Wood,         Jr .      pp .    6,    8) .         Plaintiff Wood's

son,      Chief       Judge    Bo    Woods       handled               the     selection            of      Wallis-

Wilbanks as the             funeral    home .          (L .     Wood Depo .          p .    10) .     After his

mother's death,             Judge wood first contacted Marsh Crematory about

performing           a    cremation      before           he          contacted            Wall is-Wilbanks,

because      Judge wood         "knew"      Brent        Marsh .             (L .    Wood     Depo .        pp .     10,

15) .      Judge wood then called Wallis-Wilbanks                                    and asked that they



6  Bo Wood is the              Chief     Judge         of       the     Lookout            Mountain         Georgia
Judicial Circuit .


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pick up        the body from the hospital                     and handle the cremation                        for

the family .            (L .    Wood Depo .     p.    18) .

          On the Monday following his wife's death,                            Plaintiff Wood went

to Wallis-Wilbanks to finalize the arrangements .                                (L .    Wood Depo .           p.

15) .      Plaintiff Wood's name is included on the statement of funeral

services       provided by Wallis-Wilbanks,                     but he         did not sign                 it .

(Defendants'           Exhibit 446) .

          Plaintiff Wood testified that Richard Wilbanks told him that

his wife's body would be cremated at                          "Marsh"     Crematory .               (L .    Wood

Depo .     27) .       Plaintiff         Wood   did   not,     however,        sign     the    cremation

authorization form bearing the Tri-State Crematory name .                                           (L . Wood

Depo .    p.   28) .      Rather,     that document was executed by his son,                               Judge

Wood .      (Defendants'           Exhibit 447) .

          When Plaintiff Wood obtained the remains from Wallis-Wilbanks,

they were enclosed in a black plastic box .                             (L .    Wood Depo .          p.     31) .

 Plaintiff Wood honored the wishes of his wife and took her ashes

directly home           and scattered them under a                 tree        in their yard .                (L .

Wood      Depo .   pp .        31-32) .     When      Plaintiff    Wood         spread        the      ashes,

nothing struck him as                 eventful        and the ashes consisted of mostly

fine powder,           along with some small lumps .                 (L .      Wood Depo .           pp .     35-

37) .

          Plaintiff        Wood     no    longer      has     possession        of      the    black box

because his son, Bo, turned it over to a law enforcement agency to
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be tested and it is now in the process of being returned to Judge

Wood .       (L .     Wood Depo .           p.     32) .         Plaintiff Wood does                   not    know the

results of any testing performed on the box .                                               (L .    Wood Depo . p .

37) .

          The body           of Ann Wood has                not been            identified as              one    of    the

bodies recovered at                     the Tri-State Crematory .                         (L .     Wood Depo .         p.

37) .      Mr .       Wood    and       his       son,     Bo,    both     submitted             DNA    samples         for

testing .             (L .   Wood       Depo .      pp .     38-39) .            Notably,          Plaintiff           Wood

obtained          a     list       of      unidentified             bodies         from          his       son,    which

contained              detailed            explanations                  and      descriptions                of        the

unidentified bodies .                       (L .    Wood Depo .           pp .    39-40) .          Mr .     Wood went

through       those          unidentified                bodies     and         could    not       find      one       that

matched his wife .                  (L .      Wood Depo .         pp .    39-40) .

6.        Plaintiff Robert Irwin

          Plaintiff          Robert         Rhett        Irvin      is     the     son    of       Earline        Irvin,

whose      funeral           arrangements were                   handled by Wallis-Wilbanks                            upon

her death on February 4,                          2001 .         (June 3,        2003 Deposition f Robert

Rhett Irvin pp .              5,   11) .          Plaintiff Irvin,               although not a signatory

to a contract,               made the arrangements                        for his mother's                   cremation

with Wallis-Wilbanks .                     (R .    Irvin Depo .          pp .    41-42) .          Plaintiff Irvin

did execute             an    authorization                allowing         for     the     cremation of                his

mother's body, which clearly stated that                                         "Marsh Crematory"                 would



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be providing the cremation services .                                  (R .       Irvin Depo . p . 45, 47) .



          After     he    received         the     remains          identified             as   his   mother's,

Plaintiff mailed the remains to his sister in Ontario,                                               California,

where a funeral was held and the remains were interred .                                                (R .   Irvin

Depo . pp . 33-36) .               Those remains have not been removed or tested

in any manner .            (R .    Irvin Depo .      p.      36) .          Plaintiff       Irvin's mother's

body is not           one of         those      found     and       identified by the GBI .                      (R .

Irvin Depo .         p.   32) .         Further,    Plaintiff Irvin submitted DNA sample

to the GBI          for testing and has been informed that his DNA is not

a    match    to    any       of   the     remaining         unidentified                 bodies .    (R .     Irvin

Depo .     pp .    32-33) .

7.        The Discovery and Investigation at Tri-State Crematory

          On February          15,      2002,    uncremated remains                       from the     1997-2002

era were discovered at                     the   Tri-State             location .            (Second Aff .        of

Kris      Sperry,        $$   4,     6-9) .      Three hundred and                    thirty-four         sets    of

human      remains        were       found at      Tri-State                and     211    of   those     sets    of

remains have been identified .                       According to Dr .                    Kris Sperry,         Chief

Medical           Examiner         of     the    State        of       Georgia,            "based     upon       the

scientific evidence analyzed to date                               .    .     .   these bodies arrived at

Tri-State Crematory no earlier than 1997 ."                                          (Second Aff .        of Kris

Sperry 1 2) .             Dr . Sperry's opinion is based upon his analysis of



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the methodology by which these bodies were placed in mass graves,

vaults and elsewhere on the property,                                    forensic        identification of

the bodies and DNA test results ."                            (Second Aff .            of Kris Sperry 1 4-

9) .

8.         Plaintiffs' Allegations

           Four proposed class representatives                               filed      suit   against      Tri-

State,         members        of      the   marsh    family         -    specifically,         T.    Ray Brent

Marsh,         Clara        C .        Marsh,      Rhames      L.       Marsh    and      Tommy      Ray   Marsh

(collectively               "Tri-State            Defendants")           and    56     individual      funeral

homes       (collectively "Funeral Home Defendants") .                                   (Amended Complaint

11 9-62) .           In their complaint on behalf of putative class members,

the named Plaintiffs alleged that all decedents sent to Tri-State

during its twenty years of operation were improperly cremated in a

variety         of     ways,          including      failure            to   cremate,       commingling       of

remains         and        returning         to    families         non-human          materials       such   as

concrete         dust         represented           as   being           human        remains .        (Amended

Complaint 11 2,                   66 .)   Based on these allegations,                    Plaintiffs raised

eleven claims               against         the    Defendants,           including Wall is-Wilbanks :

(1)       equitable        (injunctive and/or declaratory)                        relief,      (2)   breach of

contract,            (3)    breach of covenant                of    good     faith and fair dealing,

(4)       breach of         fiduciary duty/special duty,                        (5)    fraudulent conduct

as        to    Tri-State                 Defendants,         (6)        negligence,           (7)     willful



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interference with remains and intentional mishandling of a corpse,

 (8)       negligent          interference       with     remains         and    mishandling             of     a

corpse,          (9)     intentional          infliction       of    emotional         distress,          (10)

negligent              infliction      of      emotional       distress,          and       (11)      unjust

enrichment .              (Amended Complaint 11            97-161 .)

           In    an    Order     entered March       17,       2003,      the    Court      certified           a

class action for the time period 1988 to 2002 on the following four

causes of action only :                 (1)    breach of contract ;             (2)    negligence ;           (3)

willful interference with remains and intentional mishandling of a

corpse,         and     (4)   negligent interference with remains and mishandling

of     a   corpse .           Wallis-Wilbanks       now    seeks        summary        judgment          as   to

these four remaining claims of Plaintiff Kerry Oliver and summary

judgment          as    to as    to the negligence claims                 ((2)     and      (4) )   and the

willful          interference          claim     ((3))    of    Plaintiffs            Kitchens,          Wood,

Bradley,          DeGraw,      and Irwin .

           This       Court     certified       negligence          and    willful          interference

claims          based     upon   the    Funeral     Homes'          selection         and   use     of    Tri-

State,          their     "agent" .     The     Funeral    Home Defendants believe it                          is

undisputed that Tri-State was an independent contractor,                                          not their

agent ;      however,         in any event,       the Plaintiffs seem to be asserting

a claim in the form of negligent hiring .                              Negligent hiring,              as all

negligence             claims,    involves       foreseeability ;          willfulness              involves

more than just negligence .                     Accordingly,         an analysis of            the nature

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of Tri-State and its operators,                         Ray Marsh and Brent Marsh                (and to

some extent,             the entire Marsh family)                is crucial .

9.        The Marsh Family, Tri-State Wallis-Wilbanka Funeral Home and
          the Concealed Activity .

          The     Marsh        family,           including      Ray    Brent     Marsh,        were    not

criminals ;        there is not one scintilla of evidence even of criminal

propensity much less of any previous criminal record .                                    The evidence

is clearly to the contrary .                       The Marshes were solid citizens of the

community         (Depo .      of Walter Wilson,              Walker County Coroner            ("Coroner

Wilson      Depo .")          at   54-5) ;       they   were    known    to    be      responsible     and

progressive           and     enjoyed        a    good reputation        in    the      community     and,

indeed,         with all who knew them .                 They were "[a]          good family,         just

well-respected,               well-thought-of            family ."       (Walker County Sheriff

Wilson Depo .            at   25-27 ;    see also pp .          183-4,    230) .        They were law-

abiding .        (Id .   at 230) .       Before 2002,          the Sheriff never had occasion

to talk to funeral directors or funeral home employees about Tri-

State or the Marshes .                   (Id .     at 218) .

          Ray Marsh,           Brent's       father,         worked   many     years     for   the    post

office and then became self-employed in the grave digging business

(C . Marsh Depo . at 10), and later (1982)                            in the crematory business .

 He had enjoyed a good reputation in the community for 30-35 years

(former Coroner William E .                       McGill Depo .       at 13,    28 ;    Coroner Wilson

Depo .     54-55 .)        He was trusted .              (McGill Depo .        at 28-9) .       He was a


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member of the LaFayette Optimist Club                                (C .    Marsh Depo .              at 124)         and

served      on     the      board     of     the    Department              of     Family         and     Children

Services      (Id .) .        In 1992,      Ray Marsh ran for coroner                         (Id .) ;        although

he did not win,              he amassed 46% of the vote .                            In 1996,           the     county

government declared                "Ray Marsh Day"          in the elder Mr .                 Marsh's honor .

  (Id .    at 115) .

          Clara     Marsh,         Brent's        mother,       was         truly       a     pillar           in      the

community .          She came to Walker County in 1960 to begin a teaching

career .           (Id .     at    17,     107) .         She        served        on       numerous           civic,

charitable and political boards .                         (See,       generally ,            C.    Marsh Depo .,

106-121) .         She was named Walker County Citizen of the Year                                             (Id .    at

114)      and Georgia Woman in History                     (Id .) .

          Rhames     LaShae        Marsh,      Brent's          sister,          also        enjoyed           a    good

reputation .          While in high school in Walker County,                                      she ran track

and served on the yearbook staff .                          (R .L .         Marsh Depo .           at    96) .         She

graduated in 1988 and attended Dalton College for two years                                                    (Id .    at

12) .     She teaches Sunday school .                     (Id,       at 97-8) .             She,       too,     served

on boards and in other leadership capacities .                                        (Id .       at    13,    97) .

          Vanessa      Lynn        Marsh,     Brent's           wife,         is     well         educated             and

actively employed,                 (V .    Marsh Depo .         at    S,     63) .

          Central          figure,        Brent     Marsh,           followed           in        his     family's

footsteps .         He was an A and B student at LaFayette High School                                                 (B .

Marsh Depo .        at      82),   from which he graduated in 1991 .                                   In 1990,         he

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attended the National Young Leaders Conference in Washington,                                                           D .C .

(C .   Marsh Depo .           at 124) .         He attended the University of Tennessee-

Chattanooga            on      a    football          scholarship       (Id .        at       14)     and     studied

business management                    (Id .    at     15) .     In September                 1997,    he     married

Vanessa       (Id .    at 95)         at the lake on the Tri-State property                                 (C .    Marsh

Depo .    at 116 ; V .         Marsh Depo .           at 60-61) .      He belongs to the New Home

Missionary Baptist                    Church      (B .    Marsh Depo .          at     122),        where          he    has

served       as   church           treasurer,            trustee    and,        since         2001,     deacon             in

training .            (Id .    at     125) .     He joined the LaFayette Rotary Club in

2001,      and he has been an at-large member of                                  the         local Democratic

party for several years .                        (Id .    at    122-3) .        He coached youth teams

at     the    LaFayette             Municipal         Recreation       Center             -    three        years          of

basketball            and one year of                 football .     (Id .      at     126) .         There         is     no

evidence of any arrest of Brent Marsh prior to February 2002 .                                                            (V .

Marsh Depo .          at      71) .

          The Tri-State property consisted of the crematory,                                           the Ray and

Clara Marsh home,                   the Brent Marsh home,              and a lake and recreation

area .       The property was visited and used by the public on a regular

basis .       A   church            group      visited         Tri-State        in   the        1980's .             (R .L .

Marsh Depo . at 108) .                  Frequently, people were invited and permitted

to fish at            the property             (B .   Marsh Depo .         at   89 ;      C.    Marsh Depo .               at

116) .       In   1997 or             1998,    the Marshes hosted a                    "youth         day"         at     the

lake with several hundred children in attendance                                          (B . Marsh Depo . at

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93? .      In 1997,         Hrent's parents hosted his and Vanessa's wedding and

reception on the property where at                              least 150         people were             invited

(B . Marsh Depo .            at 95 ;      C . Marsh Depo .       at 116 ; V . Marsh Depo .                  at 10-

14) .      The Walker County coroner was familiar with Tri-State and had

been inside the crematory itself                              (Coroner Wilson Depo .                at 20-32) .

Officials in Walker County had never heard of anything "derogatory"

about      the    crematory            or    the     Marshes        prior        to   February,            2002 .

(Sheriff Wilson Depo .                    at 27 ;    Coroner Wilson Depo .                 at   29-30,          92) .




          Tri-State was being operated with the knowledge and permission

of    state      and     local       authorities,             and    had     been     so    operating            for

twenty      years       without         incident .            Georgia      State      Board         of    Funeral

Services         Inspector John Massey                   testified          that      Tri-State           was    not

required         to    have      a   license        as   it    was    not      open    to    the         public .

(Depo .     of John Massey                ("Massey Depo ."),            pp .     23-24) .       Indeed,          Mr .

Massey testified that Tri-State was not required to have a license

in   1993 .       (Massey Depo .,             p.    57) .      Only     in     2002    were     crematories

which were            not    open      to   the     public      required         to   have      a    license .

(Massey Depo .,             p.    61) .      The    record contains               instances          of    issues

involving licensure and reports which were investigated,                                             but there

is no evidence of these matters being known by the Funeral Homes .

(Massey Depo .,             at 28-38 ;       56-57 ;     60-64)

          Wallis-Wilbanks              Funeral       Home,       with      its    various           owners       and

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under the names Wallis & Sons and Wallis-Wilbanks,                                    contracted with

Tri-State from 1983 until 2002 to provide cremation services ;                                        at no

time      did Wallis-Wilbanks control                 Tri-States'             hours of        operation,

method s)      of performing cremations,                   use of tools and materials or

techniques for performing cremations ;                       in all of Wallis-Wilbanks's

dealings       with    Tri-State,         Tri-State         operated           as      an    independent

contractor ;       neither     Tri-State         nor       the      Marshes           were    employees,

agents or servants of Wallis-Wilbanks .                          (R .   Wilbanks Aff .            $1 2-10) .

          At no time prior to February 15,                  2002,        did Wallis-Wilbanks or

any of its employees have any information,                              or even suspicion,              that

any member of the Marsh family had committed any crimes or had any

propensity        to   commit    a     crime ;        that       Tri-State            was     improperly

performing        cremations ;       that    Tri-State            had        given     to     anyone     any

adulterated,        commingled       or     misidentified               cremated        remains ;      that

Tri-State,        willfully,    intentionally or otherwise,                           interfered with

human remains or mishandled a corpse ;                      or that Tri-State had on its

premises      any uncremated bodies              (    R.    Wilbanks Aff .              at    $$    8-15) .

Neither Richard Wilbanks nor any other employee of Wallis-Wilbanks

ever, willfully,         intentionally or otherwise,                         interfered with human

remains      or   mishandled     a    corpse .         (Id .      at     1    16) .     Additionally,

neither Richard Wilbanks nor any other employee of Wallis-Wilbanks

ever      authorized,     ratified          or   otherwise              approved            the    improper

cremation or adulteration of human remains,                                  the   interference with

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human remains or mishandling of any corpse by Tri-State .                        (Id,   at

    17) .        Indeed,   these     acts   and     omissions   by   Tri-State   were   to

Wallis-Wilbanks's detriment .               (Id .   at 18) .

          Now,   after the fact,       the concealed activity (or non-activity

of Tri-State)         has been discovered .           As Plaintiffs themselves have

established :

                  [t]his action arises from the recent discovery
                 that   over   a  period   of  years,   Tri-State
                 Crematory failed to cremate       human remains
                 entrusted to it for cremation services in the
                 manner dictated by its       obligation to the
                 decedents'   families,   applicable   laws,  and
                 human decency .     Rather,  Tri-State and the
                 Marsh family defendants who were its owners
                 and operators concealed uncremated remains and
                 commingled cremated remains in rudimentary
                 mass graves in wooded areas surrounding their
                 property .

Plaintiffs'        Memorandum of Law In Support of Plaintiffs'               Motion for

Class Certification Pursuant to Federal Rule of Civil Procedure 23

(filed July,         2002),   p. 1     (Emphasis added) .

          That Tri-States' activity was secret and actively concealed is

not disputed .' Likewise, the complete lack of knowledge on the part



  The singularity of Tri-State's acts and the extent of their
stealth has now been discovered : in the case of Joe Oden v . Taylor
Funeral Home , an employee of the funeral home, Mrs . Taylor, took
Mrs . Oden's body to Tri-State after the funeral and watched "the
body go into the crematory, the switch was hit, that she heard the
sound of the unit start up, and the process was to begin ."       (Joe
Oden Dep . at 36-37) .     "[W]hen my wife's body was located [on the
Tri-State property] . . . . the Taylors were as, I guess, surprised as

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of    Wallis-Wilbanks             Funeral   Home       of    Tri-State's            crimes ;      of    its

propensity for committing crimes ; of the existence of uncremated

remains ; of any adulterated, commingled or misidentified cremated

remains ;       or   of   Tri-State's        interference             with    human      remains            or

mishandling of corpses is also undisputed .                            (See R .      Wilbanks Aff .,

~~   8-14) .

                          ARGUMENT AND CITATION OF AUTHORITY


1.        Summary Judgment Standard

          A grant of summary judgment is appropriate "if the pleadings,

depositions,         answers       to   Interrogatories,          and Admissions on file,

together with the Affidavits,                if any,         show that there is no genuine

issue      as   to     any   material       fact,      and     that    the     moving        party          is

entitled to a judgment as a matter of law .                           Fed .    R.    Civ .   P.   56(c) ;

Allison v .       McGhan Medical          Corp . ,     184    F .3d   1300     (11th Cir .        1999) ;

Young v . Augusta ,          59 F .3d 1160       (11th Cir .     1995) .      This rule does not

require the moving party to negate the claims of the non-movant but

requires        only    that      the   moving    party       identify        those     evidentiary

materials        listed      in   Rule   56(c)       that    establish        the     absence          of    a



any of us ."   (Id . at 37-38) .   Even if Tri-State could somehow be
determined to be Wallis-wilbanks Funeral Home's agent, Tri-State's
election to store and bury,         rather than cremate,    bodies was
certainly outside the scope of its employment, and Wallis-Wilbanks
cannot be liable .   Hobbs v . Principal Financial Group , 230 Ga . App .
410 (1998) ; Fortune v . Principal Financial Group , 219 Ga . App . 367
(1995) .

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genuine issue of material                fact .     Celotex Corp .       v.    Catrett ,      477 U .S .

317,      323   (1986) .     The moving party on a motion for Summary Judgment

must      show that the non-moving party has no evidence to support an

essential element of the case or must present affirmative evidence

demonstrating that the non-moving party will be able to prove                                          its

case at trial .            Young ,   59 F .3d at 1170 .

          Once the moving party asserts its basis for summary judgment,

the non-moving party must then go beyond the pleadings and present

evidence         designating         "specific      facts    showing          that      there     is     a

genuine         issue for trial ."          Celotex ,     477   U .S .    at    324 .      "The mere

existence of some alleged factual dispute between the parties will

not       defeat    an     otherwise     properly        supported        motion        for    summary

judgment ;         the   requirement       is     that   there be        no    genuine        issue     of

material fact ."            Anderson v .     Liberty Lobby,        Inc . ,477 U .S .          242,     246

(1986)      (emphasis in the original) ; Brown v .                 City of Clewiston ,                 848

F .2d 1534,        1537    (11th Cir .    1988) .

          An issue       is not genuine if it is unsupported by evidence,                               or

if it is created by evidence that is                      "merely colorable" or is "not

significantly probative ."                 Anderson ,     477 U .S .      at    250 .     A    fact     is

not material unless it is identified by the controlling substantive

law as an essential element of the non-moving party's case .                                    Id .    at

248 .      Therefore,      to survive a motion for summary judgment,                          the non-



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moving         party   must   present       specific      evidence       of     every   element

material to their case so as to create a genuine issue for trial .

 Celotex,        477 U .S .   at   323 ;   Brown,   484   F .2d .   at   1537 .    Otherwise,

summary judgment must be entered against them .                          Id .

2.        Specific Claims

          A.     Statute of Limitations

          The contract claim of Plaintiff Olivere is barred by the six-

year      statute      of   limitations      for    breach    of    contract       claims   and

should be dismissed .              The Court clearly made such a finding in its

Order Granting Class Certification in March 2003 :

                 "All actions upon promissory notes, drafts, or
                 other simple contracts in writing shall be
                 brought within six years after the same become
                 due and payable ."    O .C .G .A . §9-3-24 .  "`Under
                 Georgia law, the statute of         limitations  runs
                 from the time the contract is broken and not
                 at the time the actual damage results or is
                 ascertained ."'   Owen v .     Mobley Const .    Co .,
                 Inc ., 171 Ga . App . 462, 462, 320 S .E .2d 255,


   This argument, of course, assumes that Plaintiff Oliver has
standing to assert the contract claim .  By his very own statements,
however, it is clear that he is not the proper person to assert
this claim .   His testimony reveals that he did not "play any role
whatsoever" in communicating with Wallis-Wilbanks regarding the
arrangements for his father's funeral and cremation .       (K . Oliver
Depo . p . 14) .   Rather, the evidence in the record shows that
Oliver's mother (who is alive today) and his brother contracted
with Wallis-Wilbanks for the services .     (K . Oliver Depo . pp . 14-
15) .  Thus, the undisputed record evidence shows that Plaintiff
Oliver cannot pursue the contract action against Wallis-Wilbanks,
and should be summarily dismissed on this basis .      For purposes of
this  Motion,  however,  Wallis-Wilbanks will   discuss  the remaining
bars to Oliver's contract claim .

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                 256    (1984) (quoting Space Leasing Assoc . v .
                 Atlantic Bldg . Systems , 144 Ga . App . 320, 241
                 S .E .2d     438    (1977))(internal     citations
                 omitted) ;    accord Moore v .    Dept . of   Human
                 Resources , 220 Ga . App . 471, 472, 469 S .E .2d
                 511, 512-13 (1996) .      "The discovery rule is
                 not applicable to a cause of action based on
                 breach of contract ."     Id . (citing   Owen, 171
                 Ga . App . At 462, 320 S .E .2d 255) .

(Class Certification Order,                     pp .    37-38) .

          The class action complaint was filed February 26,                              2002 .       Thus,

any breach of             contract       claim with respect             to    a    decedent     sent     to

Tri-State prior to February 26,                         1996 is barred by the applicable

six-year statute of limitations .                           The contract claim of Plaintiff

Oliver is barred by this statute of limitations .                                 Plaintiff Oliver's

father      died     on    August        12,     1994       and   arrangements        were    made      (by

Oliver's mother and brother)                     simultaneously,         one and one-half years

before February of              1996 .

          In its Class Certification Order,                         the Court addressed named

Plaintiff        Carol      Bechtel's          contract       claim,    which        involved     a    1992

contract,        and held "Plaintiff Bechtel's breach of contract claim is

time barred ."            (Class Certification Order,                  p .   38 .)    In that order,

the Court also determined that the statute of limitations would not

be tolled for fraudulent concealment .                              (Class Certification order,

p.   38,    n.    11 .)     Clearly,           Plaintiff       Oliver's      contract     claims        are

barred by        the      six   (6)   year       statute       of   limitations        under      Georgia



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law,      just as the Court ruled Plaintiff Bechtel's are .

          Plaintiff     Oliver          cannot    prove        the    statute          of     limitations

should be tolled based on fraudulent concealment because he has not

alleged "actual fraud"                  involving          "moral   turpitude"          on the part of

Wallis-Wilbanks,           as required under Georgia law .                         See O .C .G .A .         § 9-

3-96 .      Under §     9-3-96,        a statute of limitations can only be tolled

if the Plaintiff can show "actual fraud"                            of the Defendant involving

"moral turpitude" which conceals the existence of a cause of action

from the Plaintiff,                  despite    Plaintiff's          diligence          in discovering

such a claim .          More importantly to this case,                          the Supreme Court of

Georgia has held that constructive fraud does not toll                                        the statute

of   limitations .           See      Shipman v .       Horizon Corp . ,           245      Ga .     808,    267

S .E .2d 244        (1980) .         Plaintiff    Oliver        has       not    ever    alleged,           much

less      presented        any       evidence    of     any    fraud       on    behalf        of     Wallis-

Wilbanks ; without such evidence,                       the breach of contract claims of

Plaintiffs       Oliver         is    barred      See Cropper v .                STO    Corp . ,      250    Ga .

App .     at 824,    552     S .E .2d at 123 .

          In   order    to      prevail    on     a    breach        of    contract          claim      under

Georgia,       there must be a "breach and the resultant damages to the

party who        has    the      right     to    complain           about       the    contract         being

broken ."9       Odem      v.    Pace Academy ,        235 Ga .      App .      648,   654,        510 S .E .2d




9 As to Oliver's standing as a party "who has the right to complain
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326,      331   (1998)(quoting Budget Rent-A-Car of Atlanta v .                                            Webb,    220

Ga . App .      278,      279,    469 S .E .2d 712,            713     (1996)) . Notwithstanding the

reality that the                 contract claim of Oliver is                          indeed barred under

the applicable statute of limitations,                                Plaintiff Oliver has adduced

no evidence            that his father's body was not                            cremated as planned .

The       remains      of    Thomas      Milbern Oliver were                     not    discovered on the

grounds of Tri-State Crematory .                              (K .   Oliver Depo .           p.    20) .

          Finally,          Plaintiff       Oliver        ignores          the     privity          of      contract

requirement            under Georgia           law which bars                   his    breach         of    contract

claim against Wallis-Wilbanks .                        Under privity of contract,                           only the

parties signing the funeral services contract with Wallis-Wilbanks

may sue for breach of contract .                              Sofet v .         Roberts ,         185 Ga .         App .

 451,      452,     364     S .E .2d 595,      596       (1987) .

          Moreover,         only the person who entered into the funeral service

contract        and paid          for    the   services              has   suffered any contractual

damages .         See Odem          v.    Pace Academy ,               235 Ga .        App .      648,     654,     510

S .E .2d     326,       331      (1998) .        Emotional             distress          damages            are     not

pecuniary damages and cannot qualify as contractual damages .                                                       See

Bauer v . North Fulton Med .                   Ctr . ,    241 Ga . App .              568,     572,    527 S .E .2d

240       (1999) .          Accordingly,         any      breach           of    contract          claim       under

Georgia law is              limited to the party who entered into the contract




about the contract being broken," see Note 8,                                         supra .
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and       any pecuniary losses                  shown under         the     contract .          Thus,       Kerry

Oliver,         who was not a party to any contract with Wallis-Wilbanks,

cannot raise any breach of contract claim against the funeral home .

The       funeral      arrangements            for Oliver's            father were handled by his

mother and brother .                    (K .   Oliver Depo .        p .    20) .

          B.      Plaintiffs Oliver's, Bradley's and DeGraw's claims of
                  Negligence,   Negligent Interference with Remains   and
                  Mishandling of a Corpse, and Wilful Interference with
                  Remains and Intentional Mishandling of a Corpse, Are
                  Barred by the Applicable Four      (4) Year Statute of
                  Limitations .

          The     claims        of      negligence            and   the         negligent        and    wilful

mishandling            claims         asserted         by     Plaintiffs           Oliver,      Bradley       and

Degraw are also time barred under Georgia's four                                          (4)   year statute

of limitations .              It has been the law in Georgia for over 100 years

that the next of kin of a deceased have a "quasi-property right"                                               in

the body of a deceased .                       See Rivers v .       Greenwood Cemetery ,               194 Ga .

524,      22    S .E .2d 134      (1942) ;       McCoy v .      Ga .      Baptist Hospital ,           167 Ga .

App .      495,    306       S .E .2d    746     (1983) ;      Bauer       v.    North      Fulton     Medical

Center ,        241   Ga .    App .     568,     527   S .E .2d 240         (1999) ;      Hill v .     City of

Fort Valley ,          251 Ga .       App .     615    (2001) .     Pursuant to O .C .G .A .            §    9-3-

31    actions         for property damage must be brought                             within four years

"after the right of action accrues ."                           Likewise,          pursuant to O .C .G .A .

§    9-3-32,      "actions        for      the    recovery of          personal        property,        or    for

damages         for    the     conversion         or destruction of                 the    same,     shall     be

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brought within four years after the right of action accrues ."

           The     Hauer       court        stated      that     the     quasi-property                right    in    a

corpse is not pecuniary in nature ;                             it only encompasses the power to

ensure that a corpse is                      "orderly handled and laid to rest,                              nothing

more ."          Id .    at    571,     527         S .E .2d    at     244 .        In     Bauer,       the    court

determined              that    a     widow's          claims        against          a    hospital       for    the

mishandling of her spouse's body and unauthorized removal of organs

were subject to a four year statute of limitation .                                             Id .    The Court

specifically held                    that    the      "personal,         quasi-property right"                  in a

decedent's corpse is only to                            "ensure proper handling and burial ."

Id .      at    570 .

           Similarly,          in Hill        v .     City of        Fort Valley ,          supra ,     the    court

reiterated              the    Georgia       rule       that     the     next       of    kin   have     a    quasi-

property right                in the body of              a deceased .              The    specific      issue       in

Hill was whether the family's claim for "wrongful burial"                                                    after a

funeral home buried the decedent                                in the wrong plot               was barred by

the       statute        of    limitations .             The     widow         of   the     deceased         in Hill

asserted            that       the     funeral          home     failed          to       properly      mark     the

boundaries of the grave site in 1981 when the decedent was buried .

The court applied a four year statute of limitations and determined

the statute began to run when the decedent was improperly buried in

1981 .         The court therefore held that "any claim for wrongful burial



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in     1981" was           "barred by the          statute of         limitations"            because      the

family       "clearly brought              their claim well            beyond      four years"            when

they filed suit              in 1997 .     Id .    at 618 .

           Georgia courts have consistently held that                              the true test            to

determine when a cause of action accrues is to "ascertain the time

when the plaintiff could first have maintained                                 This or]         her action

to a successful result ."                  Colormatch Exteriors,               Inc .     v.    Hickey ,    275

Ga .      249,     251,    569 S .E .2d 495,        497      (2002)(quoting Travis Pruitt                    &

Assoc .       v.     Bowling ,      238    Ga .     App .    225,     226(1),        518       S .E .2d    452

(1999)) .            These        claims     accrued         at    the      time    of        the   alleged

negligence and mishandling of remains,                            namely when the decedent was

allegedly not cremated properly after the decedent was brought                                              to

the Tri-State premises .                   See Hill,        supra .      Thus,     these claims must

arise       between         February       26,     1998      and    February        26,       2002 .      The

negligence,          negligent and intentional mishandling claims of Oliver

against          wallis-Wilbanks           accrued         well    before     1998     and      should     be

dismissed on statute of                   limitations grounds .

          The father of Plaintiff Oliver clearly was                               sent to Tri-State

by Wallis-Wilbanks in 1994 .                      Furthermore,        the body Ann Hawkins,                the

mother of Plaintiffs DeGraw and Bradley,                              was    sent to Tri-State on

or     about       March      31,   1997 .         Each     of     these     claims       arose        before

February 26,              1998,   and are,       thus,     barred by the applicable statute



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of    limitations .

          Moreover,     the      discovery      rule     is     not    applicable         to   these

claims,      which do not allege bodily harm to the Plaintiff himself .

  See Fort Oglethorpe Associates II,                    LTD v .       Hails Construction Co .

of Ga .,     196 Ga .    App .   663,    665,   396    S .E .2d 585,      587    (1990)

          Further,    Plaintiffs Oliver, DeGraw and Bradley have failed to

present any evidence to support tolling the statute of limitations .

This      determination was already made by this                         Court    in its Class

Certification Order :

               Under   O .C .G .A .   §   9-3-96,   the   statute   of
               limitations applicable to a plaintiff's claim
               may be tolled if the plaintiff can show "`(1)
               actual fraud on the part of the defendant
               involving moral turpitude, (2) which conceals
               the existence of the cause of action from the
               plaintiff,     and     (3)   plaintiff's    reasonable
               diligence in discovering his cause of action,
               despite his failure to do so within the time
               of the applicable statute of limitations ."'
               Cropper v . STO Corp . , 250 Ga . App . 820, 824,
               552 S .E .2d 118, 123,       (Ga . App . 2001)( quoting
               McClung Surveying v . Worl , 247 Ga . App . 322,
               324,     541     S .E .2d     703     (2000)(citations
               omitted)) .

(Class       Certification          order,      p.      38) .          Under     Georgia       law,

constructive fraud does not toll                     the statute of limitations .                See

Shipman ,     supra .    These Plaintiffs have not provided any evidence of

"actual      fraud"     involving       "moral turpitude"         on the part of Wallis-

Wilbanks .      Without such evidence, these Plaintiffs have no grounds



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for        tolling     the   four-year      statute    of   limitations .     This   is   not

evidence which can merely be presumed ;                     Plaintiffs must demonstrate

Wallis-Wilbanks              acted   fraudulently under        §9-3-96,     which has     not

been shown           in   this    case .       Therefore,    the   negligence,   negligent

mishandling,           and wilful       mishandling claims         of   Plaintiffs Oliver,

DeGraw and Bradley are time barred and should be dismissed .

           C.    Wallis-Wilbanka   is  Entitled to    Summary Judgment   on
                 Plaintiffs Oliver's, Degraw's . Bradley's, Wood's, Irwin's
                 and Kitchens's    claims  of   Negligence   and  Negligent
                 Mishandling of Remains, as Plaintiffs Have Suffered No
                 Recognizable Damage Permitted under Georgia Law .


                 i .      Lack of recognized injury

           Plaintiffs Wood,          DeGraw,    Bradley,    Kitchens,     Irwin and Oliver

claim that wallis Wilbanks owed a duty to Plaintiffs

                to act with the ordinary care of a reasonable
                person with respect to all aspects of the
                services promised including, but not limited
                to,  all   phases   of  the  cremation   process,
                including    but  not  limited  to   the  hiring,
                retention,    training and supervision of all
                agents, employees and representatives of the
                defendants, in connection with such services
                and transaction, the association with other
                persons    and   entities   to   accomplish   the
                performance of such services, the individual,
                proper and respectful performance of all steps
                of the cremation process, and the ascertainment
                that all such services were being fully and
                properly undertaken and performed .

(Amended Complaint               1 133) .   Plaintiffs claim that Wallis-Wilbanks

negligently and carelessly failed to discharge this broadly defined


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duty .        (Amended Complaint              $    134 .)

           In order to prevail on a negligence claim under Georgia law,

a party must prove the following :                            "(1)     a legal duty to conform to

a     standard         of    conduct       raised       by    the    law      for    the     protection        of

others        against        unreasonable          risks       of    harm ;    (2)    a breach of            this

standard ;           (3)    a legally attributable causal connection between the

conduct          and       the    resulting       injury ;       and    (4)    some        loss       or   damage

flowing to the plaintiff's legally protected interest as a result

of the alleged breach of the legal duty ."                                 Wilson v .        Mallard Creek

Holdings ,         238 Ga . App .         746,     747,      519 S .E .2d 925,         926      (1999) .

           The     crux      of    these      Plaintiffs'            negligence        claims          and    the

recovery           sought         is    due   to     their       alleged        distress           caused      by

uncertainty over the                    disposition of           their respective decedents .

Under Georgia               law,       "[i]n a claim concerning negligent                         conduct,      a

recovery for emotional distress is allowed only where there is some

impact        on      the    plaintiff,           and     that      impact      must       be     a    physical

injury ."          Ryckeley v .          Callaway ,       261 Ga .     828,    829,    412      S .E .2d 826,

826       (1992) .         Thus, even under a claim for simple negligence or for

negligent interference with remains,                             Plaintiffs must prove physical

impact to obtain any recovery for emotional distress damages .                                               None

of    the     Plaintiffs           seeking        recovery          against     Wallis-Wilbanks              has

alleged,         much less proven,               any such physical             impact .



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                      ii .    Mere speculation

           moreover,          with regard to the claims of Wood,                        Kitchens,       Irwin

and Oliver,             without actual evidence that the remains received are

not       the    correct        remains,      such     claims      are     far    too    speculative        to

form        the       basis      of    recovery        under       Georgia        law .          Claims     of

uncertainty              or    fear    have     been   addressed         by      Georgia's        appellate

courts           in     cases     involving       exposure         to      a     dreaded        disease     or

material,             such as the AIDS virus                or asbestos .          For example,           in a

decision          in     February       2003,    the    Georgia      Supreme           Court     rejected     a

fear and uncertainty claim where                            the    plaintiff           alleged     that    she

feared having contracted the AIDS virus                              from a blood transfusion

but       failed to present any evidence that                        she had "actual exposure"

to the disease .                Johnson v .      American Nat'1 Red Cross ,                 276 Ga .      270,

578       S .E .2d     106     (2003) .      In Johnson ,      the plaintiff,             Ms .    Mantooth,

received a             blood     transfusion         from an American Red Cross                     donor .

After the transfusion it was discovered that                                     the    Red Cross donor

had       lived       in Central       Africa where          an undetectable              strain of        HIV

known as "Group O" was known to exist .                             Ms .       Mantooth never tested

positive for                 the AIDS virus and died of              lung cancer in May 2001 .

 Id .,      276 Ga .         at 271,    578 S .E .2d at 107-108 .

          Ms .    Mantooth            (and    later     her       executor)        sought         emotional

distress          damages         arising       from    her       "fear"         that     she     may     have



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contracted AIDS .           Since there was no evidence that Ms . Mantooth had

actually been exposed to the HIV virus,                             the trial court granted

summary judgment to the Red Cross,                     a decision affirmed by the Court

of Appeals .

          In   affirming        the   lower    court,        the     Georgia       Supreme     Court,

citing Russaw v .          Martin ,     221 Ga .   App .     683,       472   S .E .2d 508    (1996),

held that :

                The [Russaw] Court of Appeals determined that
                to allow the plaintiff recovery for emotional
                injuries and mental anguish without any proof
                that   she   was  actually exposed to      HIV or
                hepatitis was "per se unreasonable ."      Russaw ,
                supra at 686, 472 S .E .2d 508 .    In so holding,
                the Court of Appeals rightly reasoned that "it
                is axiomatic that for recovery, there must be
                some reasonable connection between the act or
                omission of a defendant and the damages which
                a plaintiff has suffered .        Without factual
                evidence of a causal connection between the
                alleged breach of       duty and the     purported
                damages,    the   damages   must   be   considered
                whimsical,     fanciful    and   above   all   too
                speculative to form the basis of recovery'
                Id . at 686, 472 S .E .2d 508 .


Johnson,       276 Ga .    at 274-275,        578 S .E .2d at 109-110 .

          Recently,       the    requirement          that     a    plaintiff       show      "actual

exposure"       or physical           injury or       impact       to   recover     for   emotional

injuries such as fear and uncertainty was specifically discussed by

the Georgia Court of Appeals                  in the context             of   a   funeral home      in

Hang v . Wages and Sons Funeral Home,                   Inc . , A03A043           (June 19,    2003) .



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  After the death of their father,                      the Tep family retained Wages &

Sons      funeral      home to perform a            "traditional         Cambodian ceremony ."

  The      family      admitted       they     believed          Wages    was     familiar      with

traditional Cambodian funeral rituals and provided the funeral home

with few instructions on their desired arrangements .                                    The   family

arranged        for     a   viewing     by    other        relatives      and     friends      and    a

cremation thereafter .               However,      decedent Tep was cremated prior to

the scheduled viewing after a wages employee misread the intended

date for cremation .               Although accompanying documents indicated the

remains        were    that   of    decedent       Tep,    his    family claimed         they were

uncertain whether "they actually received their father's remains ."

  The family specifically alleged that Wages interfered with their

right to "closure"            by the improper cremation .

          Wages moved for summary judgment ;                 the trial court granted its

motion,        concluding that Georgia's impact rule precluded the family

from       "recovering        general       damages        for    their    alleged       emotional

distress ."           The   Georgia    Court       of     Appeals    affirmed      the    entry      of

summary judgment            in favor of wages based on Georgia's impact rule,

which precludes recovery for emotional distress involving negligent

conduct without physical               impact .         The Court specifically declined

to apply the narrow exception to the impact rule set forth in Lee

v.   State Farm ,       272 Ga .     583,    533   S .E .2d 82      (2000) .

          As   the    above    authority       demonstrates,             merely    having      one's

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family         member    sent      to    Tri-State          Crematory         for        cremation       is      an

insufficient basis to prevail on a claim for fear and uncertainty

that      those     remains     may      have    been           improperly cremated .                 None       of

these      Plaintiffs        have       any proof          that    their      respective decedents

were      not    cremated     or were         improperly cremated                    -     none     of    their

respective decedents were identified by the GBI as one of the 334

bodies         found    on   the    Tri-State          Crematory         property .            Without        the

required          causal      connection          between            their      alleged            fear       and

uncertainty and their actual damages,                              these claims             represent         the

type      of    damages      that       the   Georgia           courts   regard           as   "whimsical,

fanciful         and    above      all    too    speculative             to    form        the     basis         of

recovery ."             Johnson ,       276    Ga .        at     274,   578        S .E .2d     at      110 .

Accordingly,           Plaintiffs'        speculative             negligence claims                and    their

alleged damages based on fear and uncertainty should be dismissed .

          Plaintiffs Wood, Irwin,               Bradley, DeGraw, Kitchens, and Oliver

simply have no evidence Wallis-Wilbanks willfully or intentionally

mishandled         the      remains      of   their respective                 decedents,           assuming

their claims survive despite the fact they suffered no cognizable

injuries .         In Georgia,       a willful interference with remains claim is

based in the           "quasi-property right"                   in the body of the deceased by

the next of kin .            See Hill v .       City or Fort Valley ,                    251 Ga . App .       615

(2001) ;        McCoy v .    Georgia Baptist               Hospital ,      167 Ga .        App .    495,      306



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S .E .2d 746            (1983) ;           Rivers v .       Greenwood Cemetery ,                       194 Ga .     524,    22

S .E .2d 134            (1942) .           This quasi-property right is not pecuniary in

nature ;          it only encompasses the power to ensure                                          that      a corpse is

"orderly handled and laid to rest,                                         nothing more ."              Bauer v .        North

Fulton Medical Center ,                          241 Ga .      App .        568,    571,       527 S .E .2d 240,           244

(1999) .

           For         an       intentional              mishandling               of      a     corpse          claim,      a

"demonstration of mere negligence is not sufficient to show wilful

or wanton behavior .                        In order to prove wilful or wanton conduct,                                      a

plaintiff must demonstrate the actions of a defendant were                                                          `such as

to     evidence             a    wilful          intention            to    inflict        the         injury,      or    else

[were]            so    reckless                or   so    charged               with   indifference                to     the

consequences                .   .    .    to justify       .    .     .    finding a wantonness equivalent

in spirit to actual                         intent .I"         McNeal        Loftis,           Inc .    v.   Helmey ,      218

Ga .      App .    628,         629,      462    S .E .2d 789,             790    (1995) .

           In McNeal Loftis ,                    the Court of Appeals reversed the denial of

summary           judgment               against     a    cemetery           owner      because          the     surviving

spouse        failed            to       show    the      cemetery          owner's         conduct          rose    to    the

level of wilful or intentional interference with the burial of her

husband .           Citing Habersham Mem .                      Park v .          Moore ,      the Court held that

the plaintiff wife failed to show the conduct of the cemetery was

"so       wanton        that         it    could       serve        as      the    functional            equivalent         of



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intentional            conduct ."          Id .      The     Court      held     the    actions    of    the

cemetery in attempting to mitigate the problems which arose at the

cemetery        site      before     the      service        revealed       that    the      cemetery had

concern for the consequences of its actions and was                                         "not behaving

wantonly ."          Id .    at 630,       462     S .E .2d at 790 .

          In    this      case,     as   in       McNeal        Loftis ,    these      Plaintiffs       have

absolutely no evidence that Wallis-Wilbanks wilfully interfered or

hindered the proper cremation of their respective decedents .                                           Nor

is there any evidence Wallis-Wilbanks was behaving wantonly or in

complete disregard for consequences ;                             indeed,    Wallis-Wilbanks never

had       any   evidence       or    the      slightest          indication        that     anything    was

amiss at Tri-State or with any of the Marsh family members prior to

February 2002 .

                  iii .     Wallis-Wilbanks cannot be held liable for the acts
                            of Tri-State, an independent Contractor

          Recognizing the statute of limitations problems and the lack

of    a    recognized        injury,       Plaintiffs            also   attempt        to   hold Wallis-

Wilbanks vicariously liable for the actions of Tri-State Crematory

by alleging that             the crematory was the agent of the                             funeral home .

The undisputed facts prove just the opposite - Tri-State Crematory

was an independent                contractor,         not       an agent of        Wallis-Wilbanks .

Thus,      this     Court     should       find      as     a    matter     of   law    that    Tri-State

Crematory and the Marshes were not the agents of Wallis-Wilbanks,


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and       Wallis-Wilbanks        cannot        be   held       vicariously       liable         for    the

actions of these third parties .

          In    Georgia,       the      vicarious         liability       principle        has        been

codified at O .C .G .A .          §     51-2-2,     which provides          as   follows :       "Every

person shall be liable for torts committed by his wife, his child,

or his servant by his command or in the prosecution and within the

scope of his business,                whether the same are committed by negligence

or voluntarily ."             See also Chorey,             Taylor      & Feil,    P .C .   v.    Clark ,

273 Ga .       143,   144,   539 S .E .2d 139,           140   (2000)    ("Under the principle

of    respondeat         superior,         `employers          are    generally       jointly          and

severally liable along with the tortfeasor employee for the torts

of employees committed within the scope of employment ."')(citations

omitted) .

          In Georgia,        vicarious liability does not apply if Tri-State

is an independent             contractor,         not an agent for Wallis-Wilbanks .

                 Generally, an employer-employee relationship,
                 and the possibility of vicarious liability
                 under  the   theory  of  respondeat   superior,
                 exists when the employer has the right to
                 control the time and manner of executing the
                 work . An independent contractor, on the other
                 hand, has the right to perform the work by his
                 own means, method and manner ; the employer has
                 the right merely to require certain results .

Hooters of Augusta,             Inc .     v.    Nicholson ,          245 Ga .    App .     363,       367,

537 S .E .2d 468,        472    (2000)(citations omitted) .



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          In     other    words,         "[v]icarious           liability          is     premised     upon     a

principal's right to control the time and manner of executing the

work       performed        by     the      agent ."          Butkus     v.    Putting       Greens      Int'1

Corp . ,    222 Ga . App .         661,      663,   475 S .E .2d 693,          694-696       (1996) .       The

 "right to control the time means the employer has assumed the right

to control         the person's actual hours of work .                             The right to control

the manner and method means the employer has assumed the right to

tell the person how to perform all                              details       of    the    job,     including

the       tools    he    should use           and   the       procedures        he      should      follow ."

williamson v .           Coastal         Physician Services of                 the Southeast             Inc . ,

251 Ga .       App .    667,     668,       554 S .E .2d 739,          741    (2001) .

          Wallis-Wilbanks did not control Tri-State Crematory's hours of

work .      Instead,       an employee of wallis-Wilbanks would call Tri-State

on    the      telephone          to     inform     him       that     Wallis-Wilbanks              needed      a

cremation          for     a     particular         decedent .           Wallis-wilbanks              had     no

control        over the         hours       of   operation        of    Tri-State .          (R .    Wilbanks

Aff .     1 3) .          Moreover,          Wallis-Wilbanks did not tell Ray Marsh or

Brent      Marsh how            to perform the           cremation at           Tri-State .           After a

body       was     delivered           or    picked       up    and     taken        to    Tri-State        for

cremation,         neither Richard Wilbanks nor Wallis-Wilbanks's employees

instructed Ray or Brent Marsh on what specific tools or materials

to use for the cremation or what cremation techniques or procedure

to    utilize .          (R .    Wilbanks        Aff .    $    4) .     Further,          Wallis-Wilbanks

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 employees         never instructed           either         of    the Marshes        to    utilize    a

 certain brand         of    cremation unit             or   to    service    the    crematory,       if

 necessary,        by a certain time,            manner,      or method .         (R . Wilbanks Aff .

     5) .

            After the cremation was completed, Richard Wilbanks or another

  Wallis-Wilbanks employee would pick up the cremated remains or Ray

or        Brent   Marsh     would       return    the     cremated         remains    back    to    the

funeral home .            (R . Wilbanks Aff .       1 6) .        This procedure was followed

for every decedent                sent   to   Tri-State           Crematory    for    cremation       by

Wallis-Wilbanks .            Under Georgia          law,      these    facts prove          that   Tri-

State        Crematory      was    an    independent         contractor,       not     an   agent     of

Wallis-Wilbanks .

            Further,   Richard       Wilbanks       testified         in    his    affidavit       that

neither Tri-State Crematory nor Ray Marsh nor Brent Marsh was ever

an agent,         employee or servant of Wallis-Wilbanks .                            (R,    wilbanks

Aff . 1 9) .

                  It has long been the Georgia rule that one who
                  is a party to the alleged relationship (the
                  principal or agent) may testify as a fact as
                  to the existence or non-existence of         the
                  relationship and that such testimony would not
                  be subject to the objection that the statement
                  was a conclusion or the ultimate fact .      The
                  denial   of  the    existence of   any   agency
                  relationship     may    thus   constitute     an
                  uncontradicted    fact  which will   sustain   a
                  motion for summary judgment .



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Stallings v .             Sylvania          Ford-Mercury,              Inc . ,   242     Ga .      App .     731,       733,

533       S .E .2d     731,    733         (2000) .       See     also      Entertainment                 Developers,

Inc .      v.       Relco,    Inc . ,      172    Ga .    App .    176,      177,       322       S .E .2d       304,    305

 (1984)("When a party to an alleged agency relationship denies that

such            a     relationship                exists,          that          is       a         statement             of

fact .")(citations omitted) .

           Furthermore,             one      generally            does      not        have        to     monitor         an

independent               contractor .                 "That      an     employer            is     not       bound       to

supervise             the     progress            of     contract         work         for      the       purpose         of

preventing the commission of a collateral                                        tort by the independent

contractor,            is well settled .                 The employer has the right to presume

that the independent contractor will                                   do the work in a prudent and

proper manner ."                   Dekle v .       Southern Hell             Tel .      & Tel .         Co . ,    208    Ga .

254,       258,      66 S .E .2d 218         (1951)       (overruled in part by Peachtree-Cain

Co .      v.    McBee ,      254    Ga .    91,    93,    327     S .E .2d       188    (1985)(stating                  that

the exceptions of O .C .G .A .                      § 51-2-5 are nonexclusive) .lo

                     Generally, there is no duty to control the
                     conduct of third persons to prevent them from
                     causing physical harm to others . [] There are
                     two exceptions to this general rule where : (a)
                     a special relation exists between the actor
                     and the third person which imposes a duty upon
                     the  actor   to    control  the third  person's
                     conduct,  or   (b)   a special relation exists
                     between the actor and the other which gives to


to Dekle was
             overruled in McBee only to the extent that the former
suggested the exceptions of O .C .G .A . § 51-2-5 are exclusive .

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                    the other a right to protection .

Shortnacy v .             North Atlanta       Internal Medicine,                P .C . ,    252   Ga .    App .

321,       325,     556    S .E .2d 209     (2001)(internal citations and quotations

omitted) ; Houston v .               Hedgood ,      2003 WL 22090450,            *2     (Ga .   App .    Sept .

10,       2003) .    Despite the presence of exceptions to the general rule,

each is inapplicable in this case .

           The first of these two exceptions is only applicable when a

person actually exercises control over a third person                                       (typically in

the physician/patient relationship),                             "whom he knows or should know

to be likely to cause bodily harm to others                                if    not       controlled" .

Bradley Center,              Inc .   v.    Wessner,        250   Ga .   199,    201-02,         296     S .E .2d

693       (1982) ; Houston v .        Hedgood ,      2003 WL 22090450,             *2      (Ga .App .    Sept .

10,       2003) ;   Shortnacy ,       252 Ga .App .         at 325 .     This creates a               "a duty

to exercise reasonable care to control the third person to prevent

him from doing such harm ."                    Bradley Center ,           250 Ga .         at 201 .

           This     exception        is    inapplicable          because       this     case      does      not

involve        actual       physical       harm .      The       exception,       adopted         from      the

Restatement               (Second)    of    Torts,         §   315,     specifically            references

physical harm,              and this distinction is confirmed by the fact that

the only cases found in which this exception was applied involved

a plaintiff seeking recovery for physical injuries .                                       Second,       there

is no evidence that Wallis-Wilbanks knew or should have known that



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Tri-State and its operators would "harm" others .                                           Finally,          there is

no evidence            that Wallis-Wilbanks                      exercised any control over Tri-

State's activities .

          The second exception,                    concerning a special relation between an

actor and another which gives to the other a right to protection,

is only applicable to governmental entities .                                            Houston v .       Bedgood ,

2003 WL 22090450,               *2       (Ga .    App .    Sept .      10,   2003) ;       Shortnacy ,        252 Ga .

App .     at   325 .      As   explained by the Georgia Court of Appeals,                                          this

exception         "applies only to liability of a governmental entity for

the acts or omissions of the police or similar governmental public

safety agency             in the performance                     of    its    duties        to    the    public ."

Huntington         v.     City        of     Atlanta ,           241    Ga .App .        301,     527     S .E .2d    6

(1999) (citing            Rowe      v.       Coffey ,       270       Ga .   715,     716,       515    S .E .2d    375

(1999)) ;       City of Rome v .                 Jordan,     263 Ga .        26,   426 S .E .2d 861            (1993) .

          Plaintiffs           have        the      burden        of     proof        as    to    their        agency

allegations .           "[W]here the existence of any agency is relied upon,

the burden rests with the party asserting the relationship ."                                                  Carter

v.   Kim,      157 Ga .    App .     418,         418,    277 S .E .2d 776,           776     (1981) .        Because

Wallis-Wilbanks has presented facts showing that Tri-State and the

Marshes         were    not      its        agents,         Plaintiffs             may     not    respond          with

unsupported allegations of agency but instead must present specific

facts          showing         an        agency           relationship .                   See         Bell     South

Telecommunications,                  Inc .        v.     Widner,       229     Ga .   App .      634,     636,      495

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S .E .2d         52,   55     (1997) .          "Exhibiting            the   mere      possibility             of    a

control situation falls short of the specific facts required ."                                                 Id .

 (citations omitted) .                In this case, Plaintiffs cannot satisfy their

agency burden of proof .

          Accordingly,              the     undisputed            facts      prove        that     Tri-State

Crematory, Ray Marsh and Brent Marsh were independent contractors,

not agents of Wallis-Wilbanks .                            Thus, wallis-wilbanks requests that

this      Court find           as    a matter of             law that        Wallis-Wilbanks              is not

vicariously             liable            for     the       actions          of     these        independent

contractors .

          ii .     Funeral Home Did Not Have any Nondelega.ble Duty With
                   Respect to the Remains .


          Plaintiffs also             argue that Wallis-Wilbanks                         should be        liable

for Tri-State's actions because the duties                                    imposed on the funeral

home      are      nondelegable .               "As    a    general      rule     an     employer         is    not

liable for the torts of an independent contractor .                                        O .C .G .A .    § 51-

2-4 ."      Widner v .        Brookins,          Inc . ,    236 Ga . App .        563,    564,    512     S .E .2d

405,      406      (1999) .         Pursuant       to O .C .G .A .       §   51-2-5,      an employer               is

liable       for       the    negligence          of       an   independent         contractor          in      the

listed six specific situations .

          Plaintiffs'          claim for willful                  interference with              remains        and

intentional mishandling of a corpse,                               however,       does not qualify as

a   negligence          claim .        Thus,       O .C .G .A .    5    51-2-5      is   inapplicable               to


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this      claim,        and there   is   no    basis    for holding Wallis-Wilbanks

liable      for    the    alleged   intentional        actions   of   Tri-State   and   the

Marshes .      Further,      the employees of Wallis-Wilbanks never willfully

or intentionally interfered                   with human remains or mishandled            a

corpse .      (See R . Wilbanks Aff . $ 15) .           Accordingly,    Wallis-Wilbanks

should be granted summary judgment on the Plaintiffs'                       intentional

mishandling claim .

          To understand Plaintiffs'            nondelegable duty allegations with

respect to the remaining negligence claims, the statute at issue,

O .C .G .A . § 51-2-5, must first be examined .

               An employer is liable for the negligence of a
               contractor :

                  (1)     When the work is wrongful in itself or,
                          if done in the ordinary manner, would
                          result in a nuisance ;

                  (2)     If, according to the employer's previous
                          knowledge and experience, the work to be
                          done is in its nature dangerous to others
                          however carefully performed ;

                  (3)     If the wrongful act is the violation of a
                          duty imposed by express contract upon the
                          employer ;

                  (4)     If the wrongful act is the violation of a
                          duty imposed by statute ;

                  (5)     If the employer retains the right to
                          direct  or  control   the  time  and  the
                          relation of master and servant so that an
                          injury results which is traceable to his
                          interference ; or


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                      (6)    If the employer ratifies the unauthorized
                             wrong of the independent contractor .

O .C .G .A .      §    51-2-5 .

           Plaintiffs appear to rely on subsections                           (2),    (3)    and   (4)   in

support of their position that Wallis-Wilbanks should be liable for

the alleged negligence of Tri-State Crematory .                                 First,       Plaintiffs

contend that the handling of human remains is inherently dangerous

and,      therefore,         a nondelegable duty .             Plaintiffs,      however,       overlook

Georgia courts'              construction of this section .                   "Georgia courts have

held       that       work    is       not    `dangerous   to    others,       however        carefully

performed'             if the danger results from doing the work in an unsafe

manner when there is a safe way of doing the work ."                                      Horn v .   C .L .

Osborn Contracting Co . ,                    591 F .2d 318,    320   (5th Cir .      1979)(citations

omitted) .              Examples         of    intrinsically         dangerous       work      "include

blasting              operations,            fumigation    of     premises,          spraying        from

airplanes,             the escape of a dangerous animal,                  emitting sparks from

a railway engine,                 [and]      raising an embankment which is unguarded ."

Community Gas Co .                v.    Williams ,   87 Ga .    App .   68,    80,   73     S .E .2d 119,

129       (1952)       (citations omitted) .

          The Eleventh Circuit has examined this issue in the context of

electricity :

          In Gillespie ,           the Georgia Court of Appeals stated

                   [w]e are unwilling to hold that electricity is
                   a substance so inherently dangerous that a

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                    power  company   may  not  contract  for  the
                    building of power lines with an independent
                    contractor and absolve itself from liability
                    for an injury which occurs solely because of
                    the negligence of such independent contractor
                    in the doing of the work .

          49 Ga .      App,     at 794,     176,    S .E .      at 789 .

          In    this       case,    handling        or        cremation          of    a     decedent            is       not

dangerous to others                  if carefully performed .                         As Dr .        Kris Sperry,

Georgia's           Chief       Medical       Examiner,                 testified,           embalmed            bodies

provide no health and safety hazard .                               (Sperry Depo .           p .     278) .      As for

unembalmed bodies,                 "unless one cuts oneself while contaminated with

body       fluids        from      someone,       say    who        has       AIDS     or     hepatitis               B    or

hepatitis C," there is no biohazard .                                   (Id . pp .    278-279) .            "[P]eople

think       that      there's,       you    know,       a     miasma          that    exudes          off       of    dead

bodies and that's going to,                   you know,             come - make someone come down

with infectious diseases and that's ridiculous ."                                                  (Id .   p.    279) ;

See       Walton      v.    United     States ,         484       F .     Supp .      568,         575     (S .D .        Ga .

1980) ("Although the                 handling of            the     dead merits              special            care       in

view of         the      sanctity of        the    remains              to    living    family members,                      I

cannot         conclude       that    the     transfer            of      a    body    is     in         `its    nature

dangerous           to     others     however       carefully                 performed .,")               (citations

omitted) .            Because       cremation       is        not       in    its     nature         dangerous             to

others         however        carefully performed,                       Plaintiffs          cannot             rely       on

O .C .G .A .    §     51-2-5(2)      to create a nondelegable duty .


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          Second,         Plaintiffs allege that the duty to handle the human

remains         is nondelegable because                    it    is   a duty imposed by statute .

Plaintiffs do not                   identify the          statute      that   they are relying on .

Such      a     statutory          duty,       however,        must    be   clearly    stated .       For

example,           a nondelegable duty of the owner or occupier of land to an

invitee is created in O .C .G .A .                    §    51-3-1 which provides as follows :

                    Where an owner or occupier of land, by express
                    or implied invitation, induces or leads others
                    to come upon his premises for any lawful
                    purpose,  he is liable in damages to such
                    persons for injuries caused by his failure to
                    exercise ordinary care in keeping the premises
                    and approaches safe .


See FPI Atlanta,                 L .P .   v.   Seaton ,    240 Ga . App .     880,    886,   524 S .E .2d

524,      530      (1999)    ("O .C .G .A .      § 51-3-1 imposes a personal nondelegable

duty upon           the     landlord to          keep     the premises        and     approaches safe

when it retains possession and control .") .

          An examination of the applicable statutes governing funeral

homes and crematories shows that no such personal and nondelegable

duty exists .             See O .C .G .A .        § 43-18-1 through 43-18-75 .                 Instead,

the Georgia Board of                      Funeral    Service          "may adopt and enforce         such

rules         as    may     be     reasonable        and        necessary     to    provide    for    the

sanitary disposal of                      dead human bodies and prevent                the spread of

disease and to protect the health,                             safety and welfare of the people

of   this       state ."          O .C .G .A .   §   43-18-72(b) .          Further,     the Board     is



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authorized           to    "fix       and     prescribe        standards            of       sanitation       to    be

observed in the embalming of dead human bodies or cremation of dead

human bodies ."                O .C .G .A .   § 43-18-23(4) .             This same Board of Funeral

Service,           although aware of             Tri-State's              operations and unlicensed

status after 1994,                   did not      stop Tri-State              from cremating bodies .

(Massey Depo .            pp .     15,    88-89,     165) .       In contrast,                these statutory

provisions           do    not       place     any    affirmative,             nondelegable                 duty    on

funeral homes with respect to cremation by a separate entity .

          Plaintiffs hint that a nondelegable duty exists because of the

necessity           of    protecting          the    health          and    safety           of    the     public .

O .C .G .A .    § 43-18-2 places this burden on the state,                                        not    individual

funeral homes .                See O .C .G .A .      § 43-18-2            ("It is declared that this

article        shall be           deemed an exercise                 of    the health powers                 of    the

state for the prevention of the spread of infectious,                                              communicable,

and contagious diseases and for the protection of                                             the sanitation,

health and welfare of the people of                              this       state        .    .    .") .    Compare

Williams v .         Dept .       of Corrections ,            224 Ga .      App .    571,         481 S .E .2d 272

(1997) (State             of     Georgia       has   a    statutory,           nondelegable                 duty    to

protect the health and safety of prisoners in its custody .)

          Moreover,            Plaintiffs       reference            the    health           hazard        issue    to

support        a    claim of         negligence per             se    against        the          funeral    homes,

even      though         Plaintiffs           are not         seeking       damages           for any health

hazard         but       for       failure      to       cremate           their      decedents .                 "`In
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determining               whether        the       violation        of   a    statute        or        ordinance    is

negligence per se as                      to       a particular person,                it    is        necessary    to

examine the purposes of the legislation and decide                                               (1)    whether the

injured person falls within the class of persons it was intended to

protect and               (2)   whether the harm complained of was the harm it was

intended to guard against ."'                               Horney v .       Panter ,   204 Ga . App .            474,

476,        420     S .E .2d     S,     10     (1992) (quoting            Potts v .         Fidelity        Fruit     &

Produce Co . ,             165 Ga .      App .      546,     547,   301 S .E .2d 903,              904    (1983)) .

            First,     Plaintiffs have not referenced any statute or ordinance

Wallis-Wilbanks has violated .                               Second,      Plaintiffs,            family members

of decedents,                do not      fall within the class of persons this health

hazard statute was                     intended to protect .                   These    Plaintiffs do not

participate               in    the    care,       burial      or cremation            of    dead        bodies    and

are,        therefore,          not     subject       to any possible health risk from the

bodies .           Moreover,          these Plaintiffs did not spend time at the Tri-

State property,                 where the uncremated bodies were located .                                   Third,

Plaintiffs are                  not    complaining            in this        lawsuit        of    harm     from any

health            hazard .        Finally,          the      alleged         improper       handling        of     the

decedents            is    by    the     Tri-State           Defendants,         not    Wallis-Wilbanks .

(See        R .    Wilbanks           Aff .    §    15) .         For    these    reasons,              Plaintiffs'

negligence per se argument is without merit .

            Accordingly,              Plaintiffs          have failed          to show any applicable



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statutory,           nondelegable duty for funeral homes with respect to the

cremations by Tri-State .                      For these reasons, Wallis Wilbanks should

be     granted           summary       judgment         on    all      of     Plaintiffs'           negligence

claims .

          D.       Alternatively, Wallis-Wilbanke is entitled to                                       summary
                   judgment   as to   these  Plaintiffs'  claims,                                      as  the
                   occurrences in this case were not foreseeable .

                   i.      Foreseeabiiity generally

          This Court has certified a class on four claims,                                     two of which

are,       "negligence"              and    "negligent            interference         with    remains        and

mishandling of              a    corpse ."            Both of      these      claims      involve      general

principles of             negligence,            which       "consists        of   exposing         someone to

whom       a     duty     of     care       is    owed       to    a   foreseeable,           unreasonable

probability of harm ."                      Amos v .     City of Butler ,             242    Ga .    App .   505,

506       (2000) .        To    succeed          in   proving       their      case,     Plaintiffs must

present         specific         facts      establishing a breach of duty,                          as well    as

other       elements        of    negligence,           and may        not     rest     upon generalized

allegations .             Davis       v.    Blockbuster,            Inc . ,    258    Ga .   App .    677,    679

(2002) .           Regardless          of    whether         Tri-State         was    Wallis-Wilbanks's

agent or an independent contractor,                                the actions of Tri-State were

wholly         personal         to    Tri-State,         see      Hobbs       v.   Principal         Financial

Group,         Inc . ,   230 Ga .      App .      410   (1998),        and Plaintiffs'              negligence

claims fail because Tri-State's acts were unforeseeable as a matter



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of law .

          As succinctly stated in Amos v .                 City of Butler ,        supra :

               Foresight requires the ability to anticipate a
               risk of harm from the conduct in some form .
               Thus, the legal duty to exercise ordinary care
               arises from the foreseeable, unreasonable risk
               of harm from such conduct .      Negligence is
               predicated on what    should be anticipated,
               rather than on what happened, because one is
               not bound to anticipate or foresee and provide
               against what is unlikely,    remote,   slightly
               probable, or slightly possible .

242 Ga . App . at 506          (internal citations omitted)(emphasis added) .

          In this case, Plaintiffs'          refrain is seductive :                it focuses on

the       unimaginable      horror   of    what       happened      at    Tri-State .         But   a

determination of            "what   happened"         is   only a part       of    the    required

analysis .          "What   happened"      may    be       enough   to    establish       a   claim

against the Tri-State Defendants,                     but its   "unimaginable" attribute

defeats any claim against the Funeral Homes .                            Indeed,    it is beyond

chance       that    the    criminal      acts    and      omissions       of     the    Tri-State

Defendants were not            likely or probable .             Even the possibility of

such occurrence was remote or,               as the spontaneous reactions testify

to,       "unimaginable"

           In order to hold the Funeral Home Defendants liable, it must

be shown "either that the act complained of was the sole occasion

of the injury,         or that       it put in operation other causal                      forces,

such as were the direct,             natural,         and probable consequences of the


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original act,           or that the intervening agency could have reasonably

been anticipated or foreseen by the                     [Funeral     Home Defendants]             as

the original wrongdoer[s] ."                Stapleton v . Amerson ,        96 Ga .     App .    471,

472       (2d),   100   S .E .2d 628    (1957) .

                  Negligence is not actionable unless it is the
                  proximate cause of the injury complained of .
                  `The question of proximate cause depends upon
                  the facts of each particular case, and, in
                  ascertaining in a particular case what was the
                  proximate cause of the injury, the conclusion
                  reached    depends    upon    whether    the   injury
                  alleged    was  such    a   natural    and   probable
                  consequence, under the circumstances of the
                  case, as that it might and ought to have been
                  foreseen by the wrongdoer as likely to ensue
                  from   his   act .'      `(A)   wrongdoer     is  not
                  responsible for a consequence which is merely
                  possible, according to occasional experience,
                  but only for a consequence which        is probable,
                  according to ordinary and usual experience .
                  The nature and probable consequences are those
                  which human foresight can foresee,            because
                  they happen so frequently that they may be
                  expected    to  happen     again .     The   possible
                  consequences     are   those     which    happen   so
                  infrequently that they are not expected to
                  happen again .    A man's responsibility for his
                  negligence must end somewhere .'

          Rustin Stamp &c .      v.    Ray Bros . ,   175 Ga .   App .   30,   31-32     (1),    332

S .E .2d 341        (1985) .

                  "All the past is a part of the cause of every
                  present effect .  The courts can deal with that
                  great body of cause only as it relates to
                  human activity ; and a particular court dealing
                  with a particular case must as a practical
                  necessity isolate the activities nearby to the
                  effect in question, and from these must make
                  the       juridic        determination       of

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                responsibility . . . .   [T]o judge the transaction
                according to the natural probabilities which
                men's minds take as the basis for passing
                judgment upon the course of human affairs, it
                may   appear   that      causes   other  than   the
                negligent one referred to so preponderated in
                bringing about the result as to lead us to
                say,  from a human point of view, that the
                injury was just as likely to have ensued (with
                only its details somewhat varied, perhaps) if
                the negligent thing had not occurred .      In such
                cases we exempt the author of the negligence
                from liability ."      Atlantic Coast Line R . Co .
                v . Daniels , 8 Ga . App . 775, 779-780 (70 SE
                203) (1911) .

Jacobs v .      Taylor ,      190 Ga .     App .    520,   525-6        (1989) .

          The   unforeseeability           of      the   Tri-State        Defendants'             criminal

acts and omissions                is not    just      intuitive .         From the        above quote

from      Jacobs       can    be     gleaned        several        judicial        standards          that

demonstrate           how    to    evaluate,        as     is    necessary,         not     only      what

happened        but    also       "whether      the      facts    measure      up    to      the     legal

standard set by precedent",                  Coleman ,      260 Ga .      at 570,       i .e .,    whether

what      happened      was       foreseeable .          Those     standards        are :         "put    in

operation" ;           "direct,         natural          and      probable          consequences" ;

"reasonabl[e]" ;              "merely       possible,            according         to       occasional

experience" ;           "probable,          according            to      ordinary          and       usual

experience" ;          "those        [consequences]             which     human     foresight            can

foresee,        because       they     happen       so     frequently        that       they       may    be

expected to happen again" ;                "possible consequences . . .which happen so

infrequently that they are not expected to happen again" .                                         Jacobs ,

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190       Ga .    App .      at    525-26 .            To    this     list        could        be    added       other

standards              utilized           in      the        context         of      legal          analysis        of

foreseeability :                   "inquiry . . . answered              in    accordance             with     common

sense        and       common       understanding" ;                "in the         usual,      ordinary,          and

experienced             course       of     events" ;        "circumstances               as   that     the      usual

course of nature should seem to have departed from" ;                                                "mischief is

attributable to the original                            wrong" ;      and     "according            to the usual

experience             of   mankind" .           Cope v .          Enterprise Rent-a-Car ,                  250    Ga .

App .     648,     651      (2001)     (quoting Southern R .                 Co .    v.    Webb ,     116 Ga .     152

 (1902)) .         As       applied,        these       standards         demonstrate           that       the    Tri-

State          Defendants'           criminal           acts        and      omissions              were    clearly

unforeseeable .

                             a.       "put in operation" .

          As     a group,         the Funeral Home Defendants'                        act      of hiring Tri-

State in the first place certainly cannot be said to have                                                   "put in

operation"             what    happened,           i .e .,        Tri-State's        criminal         failure       to

cremate bodies entrusted to it .                              At the absolute most,                   the Funeral

Homes might, by entrusting the bodies to Tri-State,                                             have furnished

only the condition or occasion of the injury .                                            It is black-letter

law that such acts do not constitute proximate cause .                                                Whitaker v .

Jones,         etc .   Co .,      69 Ga .      App .   711(1)        (1943) .




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                          b.        "direct, natural and probable             consequences" ;
                                    "reasonable" .

          The Funeral Home Defendants' act of hiring Tri-State was far

removed          from   the    subsequent       criminal     treatment   of    the    bodies    by

Tri-State,         and that treatment,           as evidenced by the undisputed shock

to    everyone          upon       its   discovery,    was    anything   but    natural        and

probable and reasonable .




           Even     the Plaintiffs            must admit that what happened at Tri-

State was unprecedented .                  Some would even question its possibility ;

no one would embrace its probability,                         according to "ordinary and

usual experience"

          iv .    "those [consequences] which human foresight can foresee,
                  because they happen so frequently that they may be
                  expected   to   happen   again"     vis-a-vis  "possible
                  consequences . . .which happen so infrequently that they
                  are not expected to happen again" .

          The events at Tri-State are clearly the latter .                      The bizarre,

unimaginable discovery at Tri-State reflects no                          "common sense and

understanding" ;              no    "usual,    ordinary      and   experienced       course     of

events" ;        it departed from "the usual course of nature" ;                      it was an

unanticipatable            "mischief" .         It is not     "the usual",     but,    instead,

a singular         "experience of mankind" .

          Coupled with         the bizarre nature            of Tri-State's     actions    is    a


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record that demonstrates the absence of any indications that such

conduct was taking place .                       It is undisputed that for over twenty

years,      some    of    the    Funeral          Homes      contracted           with        Tri-State      to

perform        cremations ;                Wallis-Wilbanks                  utilized           Tri-State's

independent contractor services for almost 20 years .                                           It is also

undisputed that Wallis-wilbanks did not control the time,                                        manner or

means by which Tri-State operated,                           so that         Tri-State was not               its

employee,      agent      or    servant .          Importantly,             it    is    also    undisputed

that the Tri-State Defendants had no criminal or derogatory record,

and that Wallis-Wilbanks had no knowledge of any inefficacy in Tri-

State's      operations         or        any    mistreatment          of    human       remains      or     any

criminal      propensity             on    the    part      of    the    Marshes .             Indeed,       the

information         was   just        the       opposite :       the    Marshes         were     solid       and

trustworthy         members          of     the    community,           ostensibly            operating        a

worthwhile         business,          and       Tri-State        consistently            represented          to

Wallis-Wilbanks           that       the    respective           cremated remains returned to

Wallis-Wilbanks           were        those       of   the       respective            body    sent     to    be

cremated       at    Tri-State .                Plaintiffs         have       never       disputed         this

certainty,      and there was no evidence demonstrating that Tri-State

was not operating in a prudent and proper manner .

          Plaintiffs      have        presented        no    evidence            whatsoever       that       the

criminal      activity          of    the       Tri-State        Defendants            could     have      been

reasonably anticipated by Wallis-Wilbanks .                                 It is well settled that

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there can be no proximate cause where there has                                     intervened between

the       act   of      the    defendant       and      the   injury          to    the     plaintiff,        an

independent,            intervening,         act of someone other than the defendant,

which       was       not     foreseeable         by    defendant,            was     not       triggered     by

defendant's act,               and which was           sufficient         of       itself        to cause    the

injury .          An    intervening          criminal       act    of     a    third        party,       without

which the         injury would not have occurred,                         must be treated as                 the

proximate cause of the injury thus breaking the causal connection

between the            defendants'          alleged negligence and the                         injury unless

the criminal            act    was a reasonably foreseeable                         consequence of           the

defendants'            conduct .       Walker v .       Hammock ,       246 Ga .         App .    640,    641-42

(2000) .

          Plaintiffs          have     complained that             the Tri-State property had

junk       cars       and     trash    on    it     and     appeared          to    be     in    a   state    of

disarray .         Yet regardless of this irrelevant observation,                                    there is

no    evidence         of     any inefficacy of             operations or any negligent                       or

criminal         acts       known     to   exist prior        to    the       discovery          in February

2002 .          The     appellate          courts      of   Georgia           have,       in     many     cases,

addressed the nature                  and quality of evidence alleged to create a

jury      issue        on   foreseeability .              Based    upon        this      precedent,         this

Court should not find that                    junk cars and trash on the property or




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disarray foretold the bizarre criminality of Tri-State ." While the

Georgia          cases    address    contentions     of   foreseeability   based   upon

evidence of prior knowledge of various behaviors or actions,                       none

of these cases even approaches what happened at Tri-State without

any such prior behavior,               much less any prior knowledge by Wallis-

wilbanks .          What happened at Tri-State was without prior knowledge

of        even    the     possibility     of   its    occurrence,   much    less    its

probability :           a solid,    trustworthy family operating an efficacious

business for two decades did something that was both aberrant and



11 See Hobbs v . Principal Fin . Group, Inc . , 230 Ga . App . 410 (1998)
 (lying    about   personal     and    professional      qualifications     on
application, long-term financial difficulties and poor score on
qualifications test do not constitute proof of propensity of
independent     contractor    to   commit    any   crime,    job-related    or
otherwise) ;   Fortune   v . Principal    Fin .  Group ,  219  Ga .  App . 367
 (1995)(same) ; see also, Davis v . Blockbuster, Inc . , 258 Ga . App .
677 (2002)(recording of pornography on children's videotape owned
and rented by defendant was a criminal act of a third party that
was not reasonably foreseeable by retailer) ; Cope v . Enterprise
Rent-a-Car , 250 Ga . App . 648 (2001)(providing defective rental car
may have been a "cause in fact" of renter's being attacked when car
broke down, but it was not proximate cause) ; Brown v . Mobley , 227
Ga . App . 140, 142-42 (1997) (drunkenness and "threatening gesture
toward the steering wheel" and "I'll kill all of you" threat did
not support foreseeability of front seat passenger's commandeering
of vehicle in "suicidally criminal act before fatal collision") ;
Morris v . Baxter , 225 Ga . App . 186 (1997)(°bored with life . . . does
not foretell suicide") ; Henderson v . Kroger Co . , 217 Ga . App . 252,
253 (1995)("47 prior shopliftings at the store" does not support
foreseeability argument, and intervening act of shoplifting and
flight injuring plaintiff was proximate cause) ; Simmons v . Dept . of
Human   Resources ,    213   Ga .   App .  98    (1994)(whether     girl   was
negligently placed and supervised in group home pretermitted ; third
parties' criminal act was intervening cause insulating defendants) .

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bizarre ;          its        like        had     never           happened          before .              These           cases

demonstrate that                    the    appellate courts of                      Georgia have               "a problem

with       [finding]           causation because of the extraordinary speculation

inherent           in    the    subject           of    deterrence             of    men bent          upon      criminal

ventures ."'             Fallon v .         Metropolitan Life Ins .                       Co . ,    238 Ga .App .          156,

158       (1999)        (quoting Godwin v . Olshan ,                      161 Ga . App .             35    (1982)) .         As

the       Georgia         Court           of     Appeals          has     held,           "[o]ne          is     bound        to

anticipate              and provide             against        what       usually          happens         and       what     is

likely to happen ; but it would impose too heavy a responsibility to

hold him bound in like manner to guard against what is unusual and

unlikely           to    happen           or    what,        as    it     is    sometimes             said,          is    only

remotely and slightly probable ."                                    Rustin Stamp Etc .,                    Inc .     v.    Ray

Bros .      Etc . ,      175    Ga .      App .    30,       32    (1985) .          Without         question,             what

happened at the Tri-State property was well beyond the "unusual and

unlikely" ;             rather,           what     happened             was     "unheard            of"        and    highly

improbable .

          Finally,        a very recent case,                      Griffin v .            Fowler ,        260 Ga .         App .

443        (2003),            punctuates               the        clear        state         of       foreseeability

jurisprudence in Georgia .                             In Griffin ,           an attorney was accused of

a   breach         of    his        fiduciary          duty        to    his     client            for,    among          other

things,        failing           to       warn     the       client       of        his     concerns            about       the

appointment              of     a    particular              trustee           to    handle          certain          estate

trusts .           The        court        held        that,       even        in    a     case       involving             the

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heightened obligation of a lawyer to his client,                                     i .e .,     a fiduciary

relationship,           foreseeability is still an essential                           for liability to

attach .          The     court      noted         that     "there     [was]    no    evidence          in   the

record         demonstrating           [the        lawyer's]      awareness      of     any      facts that

would lead him to conclude that                             [the trustee]       was untrustworthy ."

Id .      at   448-49 .       Indeed,     unlike          the    facts in the        case at bar,            the

court found that,               even in the face of the lawyer's suspicions about

the trustee,            the lawyer could not be held liable for the trustee's

"intervening            act     of   making         an unauthorized            withdrawal         from       [the

plaintiff's]            trust ."       Id .    at 449 .

           As these cases make clear, the utter lack of foreseeability of

the very extraordinary,                  improbable,            and criminal acts and omissions

of     Tri-State          prevent       Plaintiffs              from   maintaining           a    negligence

action against Wallis-Wilbanks .

                  2.      Intentional Conduct .

           Plaintiffs         have     alleged,           and    the   Court     has      certified,          an

additional             claim     for     "willful              interference      with          remains       and

intentional            mishandling            of    a   corpse ."       Plaintiffs         have     not      and

cannot         submit     any     evidence           that      Wallis-Wilbanks          engaged         in   any

conduct which gives rise to such claim .                               For purposes of argument,

even       assuming        Plaintiffs              have   created      an   issue       of       fact   as     to

Wallis-Wilbanks's                negligence,              Plaintiffs'       claim       of       willful      or



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intentional           conduct          still   must        fail .        As   the    Georgia         Court    of

Appeals very recently confirmed,                           "negligence,            without more,        is not

evidence       of       `a      reckless       disregard            of    the       rights      of    others,

equivalent to              an    intentional        tort[ .]"'            Roddy v .       Tanner Medical

Center,      Inc .,    - Ga .         App . -,     2003 WL 21525268,                *2   (Ga . App .)       (July

8,   2003) .

          Likewise,        Plaintiffs have not and cannot submit any evidence

tending      to     show         that    Wallis-Wilbanks             engaged         in    any       "willful"

conduct .

               Wilful conduct is based on an actual intention
               to do harm or inflict injury ; wanton conduct
               is that which is so reckless or so charged
               with indifference to the consequences as to be
               the equivalent in spirit to actual intent .
               Wilful    misconduct,   or  wilful  failure  or
               refusal to perform a duty required by statute,
               is   more    than  negligence   or  even  gross
               negligence ; it involves conduct of a criminal
               or  quasi-criminal    nature,   the intentional
               doing of something, either with the knowledge
               that it is likely to result in serious injury,
               or with the wanton and reckless disregard of
               its probable consequences .

          Muller      v.     English ,       221    Ga .    App .    672,       676,      472    S .E .2d    448

(1996) (internal             citations         and quotations omitted) .                        There   is    no

evidence of           any       sort    showing     an     intention          to    do harm or         inflict

injury      upon       Plaintiffs .            To     the        contrary,         the    evidence       shows

Wallis-Wilbanks                 did    not   engage         in    any     conduct        which       might    be

construed as the interference with remains or the mishandling of a


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corpse .         The     positive,        unequivocal       sworn        statement          by    Richard

Wilbanks         clearly       demonstrates        that     neither        he    nor    employee          of

Wallis-Wilbanks ever,                intentionally or otherwise,                     interfered with

human remains or mishandled a corpse .                        (R .    Wilbanks Aff .              $   15) .

Moreover,         neither       Richard        Wilbanks     nor     any       other     employee          of

Wallis-Wilbanks ever authorized,                    ratified or otherwise approved the

improper         cremation           or      adulteration      of        human        remains,          the

interference           with     human     remains       or mishandling          of    any    corpse       by

Tri-State .           (Id .   at 1   16) .

          In light of         the complete absence of any evidence showing any

willful or        intentional          conduct     on the    part        of Wallis-Wilbanks or

any of      its employees,            Plaintiffs'        claim for willful             interference

with      remains      and     intentional       mishandling        of    a    corpse       fails as          a

matter of law .

                                               CONCLUSION


          This   lawsuit        arises    from the morbid,           the       odd,    the       bizarre,

and,      perhaps,      the    criminal        acts of    one set     of      Defendants .            Those

Defendants            are     not,    however,      the     Funeral           Home    Defendants .

Moreover, those Defendants do not include Wallis-Wilbanks .                                       For the

reasons set for at length herein,                   Wallis-Wilbanks Funeral Home,                       LLC

respectfully requests that this Court grant summary judgment in its

favor      as    to    all    claims      of   Plaintiff     Kerry       Oliver        and    the      non-



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contract      claims   of   Plaintiffs    Wood,        Irwin,       Kitchens,   DeGraw   and

Bradley .
                                                      -V-1
          Respectfully submitted this           lO           day of October,    2003 .

                                         HAWKINS & PARNELL,             LLP




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                                                                                         PER '! ~:^Z'N1AE


                                                                                                  OCT '       . ~3
                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                         ROME DIVISION                               G~ .

                                                                                            K-1
IN RE : TRI-STATE
CREMATORY LITIGATION                                   MDL DOCKET NO .              1467




  STATEMENT OF MATERIAL FACTS AS TO WHICH THERE EXISTS NO GENUINE
        ISSUE IN SUPPORT OF MOTION FOR SUMMARY JUDGEMENT OF
            DEFENDANT WALLIS-WILSANKS FUNERAL HOME, LLC

          COMES NOW Wallis-Wilbanks                 Funeral    Home,      LLC,      a Defendant                in

the above-captioned civil action,                     and,     pursuant        to L .R .          56(B)(1),

hereby      files    its     Statement        of    Material      Facts       as    to      Which          There

Exists      No    Genuine       Issue    in    Support       of    its       Motion         for      Summary

Judgment filed herewith .               Defendant respectfully shows this Court :

1 .        In    1973,   SCI    Georgia bought         what       was    then      called          Wallis        &

           Sons    Funeral     Home from its          original owner J .D .                 Wallis,           Sr .

           (November 13,        2002 Deposition of Richard Wilbanks p .                                9) .

2 .        SCI    Georgia      owned    that       funeral    home      until       it   was         sold      to

           Carriage      Funeral       Services,       Inc .      on    March       20,           1992 .      (R .

           wilbanks Depo . pp . 10-11) .

3 .       Richard Wilbanks began working at Wallis & Sons Funeral Home

           (the precursor to Wallis-Wilbanks)                     in 1962,         when he returned

           to    LaFayette,      Georgia       after    serving         in    the    military .               (R .

          Wilbanks Aff . $ 19) .



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4 .       In 1963,           Richard wilbanks was first licensed,                             in Georgia,            as

          a    funeral        director .       (R .    Wilbanks              Depo .   p.   45 ;    R.       wilbanks

          Aff .    $ 20) .

5.        with the exception of                   a five-year period between 1982                                   and

          1987      (where he worked as a funeral director at Lane Funeral

          Home,      LaFayette          Chapel),           Richard Wilbanks                has     worked          for,

          managed or           had an ownership                  interest         in Wallis            &    Sons    and

          wallis-Wilbanks since 1962 .                          (R .    Wilbanks Depo .           pp .      11-14) .

6.        The first contact Richard Wilbanks had with any member of the

          Marsh family was in or around the end of                                    1973,    when he began

          to use the grave opening and closing services of Ray Marsh .

           (R .   Wilbanks Aff .           $ 21) .

7 .       At      some   point        in   1982       or       1983     Ray Marsh          informed          Richard

          Wilbanks that he intended to open a crematory .                                          (R .     Wilbanks

          Aff .    $ 22) .

8 .       In 1983,           shortly after the crematory opened,                           Mr . Wilbanks was

          invited by Ray Marsh to witness                               a cremation,          which he did .

           (R . Wilbanks Aff . $ 23) .

9.        wallis         &    Sons      (while        owned        by        either    SCI        or       Carriage)

          utilized the services of Tri-State between 1983 and 2001 and

          Wallis-Wilbanks Funeral Home,                           LLC used the services of Tri-

          State      between         March     21,         2001        and    January      30,         2002 .       (R .

          Wilbanks Aff .             1 24 ;   Defendant Wallis-Wilbanks Funeral Home,


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          LLC'S,      Responses              to      Plaintiffs'            First          Master       Set     of

          Interrogatories to Defendants # 2) .

10 .      Plaintiff Kerry Oliver is the son of Thomas Milbern Oliver,

          whose funeral arrangements were handled by Wallis-Wilbanks

          in 1994 .        (October 30,              2003      Deposition of               Kerry Oliver p .

          14) .

11 .      Thomas Oliver died on August 12,                            1994 .        (K .   Oliver Depo .        p.

          27) .

12 .      Plaintiff        Oliver        did      not         "play    any     role        whatsoever"          in

          communicating                with            Wallis-Wilbanks                     regarding           the

          arrangements of any aspect of his                               father's cremation .                 (K .

          Oliver Depo .           p.   14) .

13 .      The arrangements were handled by his mother,                                          who is alive,

          and brother,            Richard .       (K .       Oliver Depo .      pp .       14-15) .

14 .      After his        father's funeral                   in 1994,      the ashes were buried .

           (K .   Oliver Depo .         p.     18) .

15 .      After      the    news       of      the       discoveries           at     Tri-State,             those

          remains     were        exhumed         and        allegedly       taken         to    the    GBI    for

          testing .        (K .    Oliver Depo .             pp .   34,    49-50) .

16 .      Some     unknown person allegedly employed by the                                      GBI    or    some

          other governmental entity supposedly reported to Oliver the

          generic      finding          of     yet       another       unknown          person         that    the

          remains appeared to be composed of                               "human teeth and bone,"


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           as opposed to               concrete         dust      and rock .         (K .     Oliver Depo .         p

           51) .

 17 .      Plaintiff Oliver's father's body is not one of those found

           and identified by the                     GBI     on   the grounds              of   the Tri-State

           Crematory .          (K .    Oliver Depo .             p.    20) .

 18 .      Plaintiff Alex Kitchens retained Wallis-Wilbanks to handle

           the     disposition           of    his      father's          body,      Dr .       Sterling         Burt

          Kitchens,          who died on February 14,                     2000 .        (November 12,            2003

          Deposition of Alex Shield Kitchens, p . 6) .

19 .      Plaintiff          Kitchens          coordinated               the    arrangements               for    the

          handling       of     his      father's            final      disposition             directly with

          Richard Wilbanks .                  (A .     Kitchens Depo .          p.      16) .

20 .      Plaintiff Kitchens executed an "Authorization for Cremation

          and Disposition," which clearly identified "Marsh Crematory"

          as the provider of cremation services .                                    (A . Kitchens Depo .

          pp .     22-23 ;    Defendants'            Exhibit           222) .

21 .      After the discoveries on the Tri-State property,                                             Plaintiff

          Kitchens       had the          remains of              his     father        exhumed from the

          LaFayette Cemetery .                   (A .   Kitchens Depo,               p .     40) .

22 .      Plaintiff          Kitchens         turned the           remains       over        to      the   GHI    for

          testing,      and was informed that                      the remains were                  "consistent

          with human remains ."                 (A .    Kitchens Depo .            p.       40) .




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23 .      Jackie DeGraw and Virginia Bradley are the daughters of Ann

          Hawkins .          (September 29,           2003 Deposition of Virginia Bradley,

          p.    5;   September 29,             2003 Deposition of Jackie DeGraw,                     p.    7) .

24 .      The    funeral        and cremation arrangements                    for the body of Ann

          Hawkins were handled by Wallis-Wilbanks,                                on or about March

          31, 1997, the day after the death of Ms . Hawkins .                                (V . Bradley

          Depo .,     pp .    17,     20-21 ;    J.     DeGraw Depo .,        pp .   17,   22) .

25 .      Both Ms .       DeGraw and Ms .             Bradley met with Richards Wilbanks

          on    March        31,     1997,      where       they       were   both     signatories           to

          Statement          of      Funeral      Goods       and      Services      Selected .            (See

          Defendants'          Exhibit         717) .

26 .      On that same date,               both Ms .        DeGraw and Ms .          Bradley executed

          an Authorization for Cremation and Disposition,                                  which clearly

          authorized           "Marsh"         crematory        to     cremate       the   body     of     Ms .

          Hawkins .          (See Defendants'               Exhibit 718) .

27 .      The purported cremains of                      Ms .   Hawkins were          returned to her

          family within              a   few    days     of     the    "cremation ."         (J .    DeGraw

          Depo .,    p.      28) .

28 .      Those cremains were then buried at Crest Lawn Cemetery with

          the cremains of John Hawkins, who had died and been cremated

          in September 1994 and whose cremains had been maintained to

          allow for a joint interment .                         (J .   DeGraw Depo .,       p.     28) .




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29 .       The      cremains          returned       to        Ms .     DeGraw       and       Ms .     Bradley             and

           purported to be                   those of          Ann Hawkins,              remained buried                     in

           Crest Lawn until these Plaintiffs learned of the discoveries

           at     Tri-State           and     they   were          notified         of     a    DNA       match .           (V .

           Bradley Depo .,             p . 47) .

30 .       Ms .     DeGraw and Ms .               Bradley,            as well       as   their sister Tina

           Russell, provided DNA samples to the GBI .                                     (V . Bradley Depo .,

           p.     28 ;   J.   DeGraw Depo .,          p.       17) .

31 .       In July 2002,           the GBI notified Ms .                  DeGraw that there had been

           a DNA match and the "body" of Ann Hawkins had been located

           on the Tri-State grounds .                       (V .      Bradley Depo .,            pp .        31,     46 ;    J.

           DeGraw Depo .,             p.     30) .

32 .       At that time,              Ms .    DeGraw and Ms .            Bradley,          and their brother

           Herbert Duncan,                 exhumed the           cremains purported to be those

           of Ann Hawkins .                (V .   Bradley Depo .,            p .    47 ;) .

33 .       Ms . DeGraw and Ms . Bradley attempted to return these remains

           to the GBI, but were told to "throw them away" as the GBI was

           no longer testing cremains .                          (J .   DeGraw Depo .,                pp .    46-47) .

34 .       Ms .     DeGraw maintained possession of the cremains .                                           (J .    DeGraw

           Depo .,       p.   47) .

35 .       In April 2003,              the GBI released the                  "body"        of Ann Hawkins to

           W .L .    Wilson & Sons Funeral Home .                         (V .     Bradley Depo .,                  p .48) .




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36 .      At     that    time,       these     Plaintiffs             were       allowed          to     see    their

          mother's        "body ."     (V . Bradley Depo ., p . 48 ; J . DeGraw Depo .,

          pp .    40-42) .

37 .      All     that    was       located       and       identified           by     the    GBI       was    three

          bones,     which were "re-cremated ."                         (V .     Bradley Depo .,               p . 48 ;

          J.     DeGraw Depo .,        pp .    40-42) .

38 .       Plaintiff       DeGraw          maintains           custody           and     control         of     those

           cremains .      (V .   Bradley Depo .,              p.    48 ;   J.    DeGraw Depo .,           pp .    40-

          42) .

39 .      Plaintiff Llewellyn Wood,                     Jr .    is the surviving spouse of Ann

          Bolling Jones Jones,                 who died on August 27,                        2000 .      (June 16,

          2003 Deposition of Llewellyn Wood,                                Jr .      pp .   6,   8) .

40 .      Plaintiff        Wood's          son,     Chief           Judge        Bo    wood,      handled          the

          selection of Wallis-Wilbanks as the funeral home .                                              (L . Wood

          Depo .    p.    10) .

41 .      After his mother's death,                      Judge Wood first contacted Marsh

          Crematory about performing a cremation before he contacted

          Wallis-Wilbanks,            because Judge Wood "knew" Brent Marsh .                                      (L .

          Wood Depo .        pp .    10,    15) .

42 .      Judge Wood then called Wallis-Wilbanks and asked that they

          pick up the body from the hospital                                and handle the cremation

           for the       family .       (L .   Wood Depo .            p.    18) .

43 .      On the Monday following his wife's death,                                    Plaintiff Wood went


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           to Wallis-Wilbanks to                finalize     the arrangements .          (L .   Wood

           Depo .   p .    15) .

44 .       Plaintiff Wood's name is included on the statement of funeral

           services provided by Wallis-wilbanks,                      but he did not sign it .

           (Defendants'            Exhibit 446) .

45 .       Plaintiff Wood testified that Richard Wilbanks told him that

           his wife's body would be cremated at                       "Marsh" Crematory .        (L .

           Wood Depo .       27) .

46 .       Plaintiff         Wood      did      not,      however,      sign    the     cremation

           authorization form bearing the Tri-State Crematory name .                             (L .

           Wood Depo . p . 28) .

47 .       Rather,        that document was executed by his son,                      Judge Wood .

           (Defendants'            Exhibit 447) .

48 .       When     Plaintiff          Wood     obtained        the   remains    from     Wallis-

           Wilbanks,        they were enclosed in a black plastic box .                          (L .

           Wood Depo . p . 31) .

49 .       Plaintiff Wood honored the wishes of his wife and took her

           ashes directly home and scattered them under a tree in their

           yard .   (L .    Wood Depo .       pp .   31-32) .

50 .       When Plaintiff Wood spread the ashes,                       nothing struck him as

           eventful and the ashes consisted of mostly fine powder, along

           with some small lumps .                   (L . Wood Depo . pp . 35-37) .




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 51 .      Plaintiff        Wood    no    longer            has    possession              of    the    black       box

           because his son,             Bo,   turned it over to some law enforcement

           agency to be tested                and     it      is   now in         the process of                  being

           returned to Judge Wood .                    (L .    Wood Depo .            p.    32) .

52 .       Plaintiff        wood    does      not          know    the         results          of   any     testing

           performed on the box .                   (L .    Wood Depo .          p.    37) .

53 .       The body of Ann Wood has not been identified as one of the

           bodies recovered at the Tri-State Crematory .                                         (L .   Wood Depo .

           p.     37) .

54 .       Mr .   Wood     and    his    son,   Bo,          both       submitted           DNA      samples        for

           testing .       (L .   Wood Depo .         pp .     38-39) .

55 .       Plaintiff Wood obtained a list                          of unidentified bodies                          from

           his      son,     which        contained                detailed            explanations                 and

           descriptions of the unidentified bodies .                                   (L .     Wood Depo . pp .

           39-40) .

56 .       Mr .   Wood went through those unidentified bodies and could not

           find one that matched his wife .                             (L .    Wood Depo .          pp .    39-40) .

57 .       Plaintiff       Robert       Rhett       Irvin is            the son of              Earline          Irvin,

           whose funeral arrangements were handled by Wallis-Wilbanks

           upon     her     death       on    February             4,      2001 .               (June       3,     2003

           Deposition of Robert Rhett                        Irvin pp .         5,    11) .




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58 .       Plaintiff         Irvin,       although            not     a    signatory      to        a    contract,

           made     the      arrangements                for     his       mother's       cremation             with

           Wallis-Wilbanks .              (R .      Irvin Depo .           pp .    41-42) .

59 .       Plaintiff       Irvin did execute                   an authorization allowing                         for

           the cremation of his mother's body,                                     which clearly stated

           that     "Marsh          Crematory"           would        be    providing          the       cremation

           services .        (R .    Irvin Depo .         p.     45,       47) .

60 .       After he received the remains identified as his mother's,

           Plaintiff         mailed          the      remains         to     his     sister         in   Ontario,

           California,          where        a    funeral was held and the                          remains were

           interred .      (R .      Irvin Depo .         pp .      33-36) .

61 .      Those remains have not been removed or tested in any manner .

           (R .   Irvin Depo .         p .       36) .

62 .       Plaintiff Irvin's mother's body is not one of those found

           and identified by the GBI .                         (R .       Irvin Depo .        p .    32) .

63 .      Further,        Plaintiff Irvin submitted DNA sample to the GBI for

           testing and has been informed that his DNA is not                                                 a match

           to any of the remaining unidentified bodies .                                   (R .      Irvin Depo .

          pp .    32-33) .

64 .      On February 15,             2002,         uncremated remains                from the 1997-2002

           era were discovered at the Tri-State location .                                          (Second Aff .

          of Kris Sperry,             $$ 4,         6-9) .




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 65 .      Three hundred and thirty-four sets                      of    human remains were

           found at Tri-State and 211 of those sets of remains have been

           identified .      According       to    Dr .    Kris    Sperry,        Chief    Medical

           Examiner of the State of Georgia,                 "based upon the scientific

           evidence analyzed to date           .   .   .   these bodies arrived at Tri-

           State Crematory no earlier than 1997 ."                       (Second Aff .      of Kris

           Sperry 1 2) .

66 .       Dr .   Sperry's   opinion     is     based       upon    his     analysis        of     the

           methodology by which these bodies were placed in mass graves,

           vaults and elsewhere on the property,                   forensic identification

           of the bodies and DNA test results ."                    (Second Aff .          of Kris

           Sperry $ 4-9) .

67 .       The Marshes were        solid citizens of             the community           (Depo .   of

           Walter Wilson,     Walker County Coroner               ("Coroner Wilson Depo .")

           at 54-5) ;   they were known to be responsible and progressive

           and enjoyed a good reputation in the community and,                             indeed,

           with   all who    knew them .       They were          "[a]    good     family,       just

           well-respected,      well-thought-of             family ."            (Walker    County

           Sheriff   Wilson Depo .      at    25-27 ;      see    also    pp .   183-4,     230) .

           They were law-abiding .         (Id .   at 230) .

68 .       Before    2002,   the    Sheriff        never     had    occasion        to     talk    to

           funeral directors or funeral home employees about Tri-State

           or the Marshes .        (Id . at 218) .


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69 .       Ray Marsh,           Brent's          father,        worked many years               for     the post

           office      and      then       became      self-employed              in    the    grave     digging

           business          (C .    Marsh Depo .          at    10),       and    later       (1982)        in   the

           crematory business .                  He had enjoyed a good reputation in the

           community for 30-35 years                       (former Coroner William E .                       McGill

           Depo .     at 13,        28 ;    Coroner Wilson Depo .                 54-55 .)

70 .       He was trusted .                 (MCGill Depo .         at 28-9) .

71 .       He    was    a    member         of   the    LaFayette           Optimist          Club    (C .    Marsh

           Depo .     at    124)      and served on the board of                        the Department             of

           Family and Children Services                          (Id .) .

72 .       In 1992,         Ray Marsh ran for coroner                     (Id .) ;     although he did not

           win,      he amassed 46% of the vote .

73 .       In 1996,         the county government declared                             "Ray Marsh Day"             in

           the elder Mr .            Marsh's honor .              (Id .     at    115) .

74 .       Clara Marsh came to Walker County in 1960 to begin a teaching

           career .         (Id .    at 17,       107) .

75 .       She       served         on     numerous        civic,       charitable            and     political

           boards .         (See,        generally ,       C.    Marsh Depo .,          106-121) .

76 .       She was named Walker County Citizen of the Year                                       (Id,    at 114)

           and Georgia Woman in History                          (Id .) .

77 .       While in high school                   in Walker County,               Rhames LaShae Marsh,

           Brent's sister,                 ran track and served on the yearbook staff .

           (R .L .    Marsh Depo .           at 96) .


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 78 .      She graduated in 1988 and attended Dalton College for two

           years     (Id .     at      12) .

 79 .      She teaches Sunday school .                            (Id .     at    97-8) .

 80 .      She,      too,         served          on        boards         and      in       other       leadership

           capacities .               (Id .    at 13,        97) .

81 .       Vanessa       Lynn          Marsh,        Hrent's           wife,       is     well       educated         and

           actively employed .                     (V .    Marsh Depo .           at    8,   63) .

82 .       Hrent Marsh was an A and H student at LaFayette High School

           (B .   Marsh Depo .           at 82),           from which he graduated in 1991 .

83 .       In 1990,       he attended the National                               Young Leaders Conference

           in Washington,               D .C .      (C .     Marsh Depo .          at 124) .

84 .       He     attended        the         University          of      Tennessee-Chattanooga                     on    a

           football        scholarship                    (Id .   at      14)      and       studied          business

           management          (Id .     at      15) .

85 .       In September,               1997,      he married Vanessa                     (Id .    at    95)    at     the

           lake     on   the      Tri-State property                      (C .    Marsh Depo .          at    116 ;      V.

          Marsh Depo .           at 60-61) .

86 .      He      belongs        to    the       New      Home    Missionary             Baptist        Church        (B .

          Marsh Depo .         at 122),           where he has served as church treasurer,

           trustee and,           since 2001,               deacon in training .                     (Id .   at 125) .

87 .      He joined the LaFayette Rotary Club in 2001,                                           and he has been

          an at-large member of the local Democratic party for several

          years .        (Id .    at 122-3) .


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88 .       He coached youth teams at the LaFayette Municipal Recreation

           Center - three years of basketball and one year of football .

           (Id .     at   126) .

89 .       There      is no evidence of any arrest of Brent Marsh prior to

           February 2002 .             (V .    Marsh Depo .          at 71) .

90 .       The Tri-State property consisted of                                the crematory,         the     Ray

           and Clara Marsh home,                    the Brent Marsh home,              and a        lake     and

           recreation area .                  (See generally map of Tri-State property) .

91 .       The property was visited and used by the public on a regular

           basis .        A      church       group    visited Tri-State              in    the     1980's .

           (R .L .    Marsh Depo .            at   108) .

92 .       Frequently,            people were invited and permitted to fish at the

           property        (B .    Marsh Depo .         at    89 ;    C.   Marsh Depo .       at 116) .

93 .       In 1997 or 1998,             the Marshes hosted a "youth day"                       at the lake

           with several hundred children in attendance                                 (B .    Marsh Depo .

           at   93) .

94 .       In 1997,       Brent's parents hosted his and Vanessa's wedding and

           reception          on    the       property       where      at    least   150     people       were

           invited        (B .     Marsh      Depo .    at    95 ;    C.     Marsh Depo .      at    116 ;   V.

           Marsh Depo .           at   10-14) .

95 .      The Walker County coroner was familiar with Tri-State and had

           been inside the crematory itself                           (Coroner Wilson Depo . at 20-

           32) .


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96 .      Officials          in     Walker         County      had      never       heard      of     anything

           "derogatory"            about        the   crematory         or    the    marshes         prior        to

           February,        2002 .        (Sheriff Wilson Depo .              at 27 ;     Coroner Wilson

           Depo .    at 29-30,          92) .

97 .       Tri-State          was       being         operated         with       the    knowledge               and

           permission of            state and local authorities,                        and had been so

           operating for twenty years without incident .                                      Georgia State

           Board     of    Funeral         Services          Inspector John Massey                  testified

           that Tri-State was not required to have a license as                                               it was

           not    open      to    the     public .           (Depo .    of    John      Massey           ("Massey

           Depo ."),       pp .   23-24) .

98 .       Tri-State         was     not     required         to     have     a     license         in    1993 .

           (Massey Depo .,           p.    57) .

99 .       Only     in    2002      were    crematories            which were           not    open       to     the

           public required to have a license .                               (Massey Depo .,             p.    61) .

100 .      The record contains instances of issues                                involving licensure

           and reports which were investigated,                          but there is no evidence

           of these matters being known by the Funeral Homes .                                            (Massey

           Depo .,    at    28-38 ;       56-57 ;     60-64) .

101 .      Wallis-Wilbanks              Funeral        Home,     with     its       various     owners           and

           under the names Wallis & Sons and Wallis-Wilbanks,                                       contracted

           with     Tri-State           from     1983    until         2002    to    provide         cremation

           services .          (R . Wilbanks Aff . 11 2-10) .


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102 .      At no time did Wallis-Wilbanks control Tri-States'                          hours of

           operation, method s)        of performing cremations,                   use of tools

           and materials        and techniques         for performing cremations ;               in

           all of Wallis-Wilbanks's dealings with Tri-State,                          Tri-State

           operated as an independent contractor                       (R . Wilbanks Aff .       $1

           2-10) .

103 .      Neither Tri-State nor the Marshes were employees,                          agents or

           servants of Wallis-Wilbanks .                (R .    Wilbanks Aff .      $T 2-10) .

104 .      At no time prior to February 15,                    2002,   did Wallis-Wilbanks

           or    any   of    its   employees         have      any   information,       or   even

           suspicion,       that any member of the Marsh family had committed

           any crimes or had any propensity to commit a crime ; that Tri-

           State was        improperly performing cremations ;                that    Tri-State

           had    given       to   anyone       any     adulterated,          commingled         or

           misidentified cremated remains ;                 that Tri-State,          willfully,

           intentionally or otherwise,               interfered with human remains or

           mishandled a corpse ;       or that Tri-State had on its premises

           any uncremated bodies         (R .   Wilbanks Aff .          at   11   8-15) .

105 .      Neither Richard Wilbanks nor any other employee of Wallis-

           Wilbanks       ever,    willfully,          intentionally          or     otherwise,

           interfered with human remains or mishandled a corpse .                            (Id .

           at 1   16) .




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106 .      Neither Richard Wilbanks nor any other employee of Wallis-

           Wilbanks ever authorized,                ratified or otherwise approved the

           improper   cremation         or    adulteration          of   human     remains,    the

           interference with human remains or mishandling of any corpse

           by Tri-State .       (Id .   at 1     17) .

107 .      These   acts   and     omissions            by   Tri-State       were    to     Wallis-

           Wilbanks's detriment .            (Id .    at 18) .




          Respectfully submitted this -0 day of October,                             2003 .

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